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                                        EXHIBIT A
           Highlighted Transcript of December 15, 2023 Deposition of Jeffrey Dane


Exhibit A is highlighted to reflect both the Debtors’ and the Committee’s designations. The
Committee’s designations are highlighted in yellow, while the Debtors’ designations are
highlighted in blue. Green highlights are areas designated by both the Debtors and the Committee.
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              IN THE UNITED STATES BANKRUPTCY COURT              1 A P P E A R A N C E S:
                 FOR THE DISTRICT OF DELAWARE
                                                                 2
      _______________________________
                                                                 3 JOHN MORRIS, ESQUIRE
      In re                          )
                                                                 4 Attorneys for Debtors
                                     )Chapter 11
                                                                 5 PACHULSKI STANG ZIEHL & JONES LLP
      AMERIFIRST FINANCIAL, INC.,    )Case No. 23-11240(TMH)
      et al.,                        )
                                                                 6 780 Third Avenue, 34th Floor
                          Debtor.    )
                                                                 7 New York, New York 10017-2024
      _______________________________)                           8 212.561-7700
                                                                 9 jmorris@pszjlaw.com
              VIDEOTAPED DEPOSITION OF JEFFREY DANE             10
                       APPEARING REMOTELY                       11 -AND-
                       December 15, 2023                        12
                           10:06 a.m.                           13 MAXIM B. LITVAK, ESQUIRE
                                                                14 One Sansome Street, Suite 3430
      Reported by: Eileen Mulvenna, CSR/RMR/CRR
                                                                15 San Francisco, California 94104
                                                                16 415.263.7000
                                                                17 mlitvak@pszjlaw.com
      ____________________________________________________
                                                                18
                      DIGITAL EVIDENCE GROUP
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                      Washington, D.C. 20036                    21
                         (202) 232-0646                         22

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  1              REMOTE VIDEOTAPED DEPOSITION of                  1   A P P E A R A N C E S (Continued):
  2 JEFFREY DANE, a witness on behalf of the Debtors in           2
  3 the above-titled action, held on Friday, December             3   ANDREW K. GLENN, ESQUIRE
  4 15, 2023, commencing at approximately 10:06 a.m.,             4   MALAK S. DOSS, ESQUIRE
  5 before Eileen Mulvenna, CSR/RMR/CRR/RDR, Certified            5   KURT A. MAYR, ESQUIRE
  6 Shorthand Reporter, Registered Merit Reporter,                6   Attorneys for Official Committee of Unsecured
  7 Certified Realtime Reporter, Registered Diplomate             7   Creditors
  8 Reporter, and Notary Public of the State of New               8   GLENN AGRE BERGMAN & FUENTES LLP
  9 York.                                                         9   1185 Avenue of the Americas, 22nd Floor
 10                                                              10   New York, New York 10036
 11                                                              11   212.970.1600
 12                                                              12   aglenn@glennagre.com
 13                                                              13
 14                                                              14
 15                                                              15   LINDA RICHENDERFER, ESQUIRE
 16                                                              16   Office of The United States Trustee
 17                                                              17   844 King Street, Suite 2207
 18                                                              18   Lockbox 35
 19                                                              19   Wilmington, Delaware 19801
 20                                                              20   linda.richederfer@usdoj.gov
 21                                                              21
 22                                                              22


                                                                                      1 (Pages 1 to 4)
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   1 A P P E A R A N C E S (Continued):                     1             THE VIDEOGRAPHER: We are on the
   2                                                        2        record.
   3 ALEXANDER SCHWARTZ, ESQUIRE                            3             This is the remote video deposition of
   4 Attorneys for Reverence Capital Partners               4        Jeffrey Dane, in the matter of In Re
   5 QUINN EMANUEL URQUHART & SULLIVAN LLP                  5        AmeriFirst Financial, Inc. et al., filed in
   6 51 Madison Avenue, 22nd Floor,                         6        the United States Bankruptcy Court for the
   7 New York, New York 10010                               7        District of Delaware.
   8 212.849.7663                                           8             My name is Billy Fahnert. I am the
   9 alexanderschwartz@quinnemanuel.com                     9        video technician today. The court reporter
  10                                                       10        is Eileen Mulvenna. We both represent
  11                                                       11        Digital Evidence Group.
  12 JOSHUA LAW, ESQUIRE                                   12             Today's date is December 15, 2023.
  13 PASHMAN STEIN WALKER HAYDEN, P.C.                     13        The time is 10:06 a.m. Eastern Standard Time.
  14 101 Crawfords Corner Road, Suite 4202                 14             Counsel has stipulated to the witness
  15 Holmdel, New Jersey 07733                             15        being sworn in remotely.
  16 201.270.4931                                          16             Will counsel please identify
  17 jlaw@pashmanstein.com                                 17        yourselves for the record, and then the
  18                                                       18        witness will be sworn in.
  19                                                       19             MR. GLENN: I'm Andrew Glenn, Glenn
  20 ALSO PRESENT:                                         20        Agre Bergman & Fuentes, special litigation
  21 Eric Bowlby                                           21        counsel to the Official Committee of
  22 Billy Fahnert, Videographer/Exhibit Tech              22        Unsecured Creditors.


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   1               INDEX                                     1             MR. MORRIS: John Morris -- give me
   2   WITNESS       EXAMINATION BY              PAGE        2       one second. John Morris, Pachulski Stang
   3                                                         3       Ziehl & Jones for the debtors.
   4   JEFFREY DANE                                          4             MS. RICHENDERFER: Linda Richenderfer,
   5                                                         5       trial attorney with the Office of the United
   6               MR. GLENN              8                  6       States Trustee.
   7              EXHIBITS                                   7             MR. GLENN: Anybody else?
   8                         PAGE                            8             Okay. Let's get started.
   9                                                         9             THE VIDEOGRAPHER: Eileen, can you
  10   Exhibit 1 No Bates numbers, 5/15/23 78              10        hear us?
  11            Letter from RCP to AFI                     11              THE REPORTER: Yes.
  12   Exhibit 2 No Bates numbers, Weekly 112              12              THE VIDEOGRAPHER: Are you going to
  13            Cash Budget                                13        swear the witness in?
  14                                                       14              THE REPORTER: Oh, sorry.
  15                                                       15    JEFFREY DANE,
  16                                                       16      having been duly sworn by Eileen Mulvenna,
  17                                                       17      a Notary Public of the State of New York,
  18                                                       18      was examined and testified as follows:
  19                                                       19    EXAMINATION
  20                                                       20    BY MR. GLENN:
  21                                                       21     Q.     I assume you've been deposed before
  22                                                       22 today?


                                                                                   2 (Pages 5 to 8)
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  1       A.    I have.                                         1            RCP -- in fact, by the time the
  2       Q.    Yes?                                            2   agreement was signed, it was 4 million, I think,
  3       A.    Yes, I have.                                    3   because RCP agreed to -- agreed to make 4 million of
  4       Q.    Okay. And if at any point today you             4   their debt preferred right away.
  5 need a break, just let me know, and I will try to           5            Both sides signed releases.
  6 accommodate you. I do not expect to take the whole          6            You know, that's the -- those are the
  7 day. I don't know what others are going to do, if           7   major concessions that were given to the company.
  8 anyone, but let's get started.                              8        Q. And I didn't follow some aspects of
  9            Are you familiar with a series of                9   the answer. So I'd like to follow up.
 10 transactions that were consummated on May 15th of          10            You testified that RCP agreed to
 11 2023 involving the debtors and Reverence Capital           11   reduce the principal amount of its debt. Is that
 12 Partners?                                                  12   what I heard?
 13       A.    Yes.                                           13        A. Correct. Assuming that milestones
 14       Q.    Okay. And I'm going to use the                 14   were met and $20 million was paid down by
 15 acronym RCP to stand for Reverence Capital Partners.       15   September 1st, they were going to convert the
 16 Okay?                                                      16   difference, which is 8 million, into -- originally
 17       A.    Yep.                                           17   it was contemplated to be a combination of
 18       Q.    What happened in connection with that          18   preferred -- preferred stock in what they call Hope
 19 settlement, those transactions on May 15th?                19   Notes, which are deeply subordinated instruments.
 20            MR. MORRIS: Objection to the form of            20            That was in the original term sheet.
 21       the question.                                        21   By the time the agreement was signed, RCP agreed to
 22            THE WITNESS: Could you be a little              22   convert 4 million of their debt up front to


                                                   Page 10                                                  Page 12
   1        more specific?                                      1   preferred.
   2   BY MR. GLENN:                                            2        Q. And do you know why that aspect of the
   3        Q. What was the substance of the                    3   agreement was included?
   4   transactions that occurred on May 15th of 2023 as        4        A. Well, I believe it was to lessen the
   5   you understand it?                                       5   debt burden for the company.
   6        A. It was a series of agreements signed             6        Q. To achieve any particular meaning?
   7   and amended and restated credit agreement,               7        A. I think it's -- I think less debt is
   8   settlement agreement, waivers, which were included       8   self-explanatory.
   9   in the settlement agreement, and a couple of other       9        Q. But was that needed to comply with any
  10   documents which amended the original -- which           10   regulatory requirements or to obtain a warehouse
  11   amended the original April 2021 credit agreement.       11   loan?
  12        Q. And what consideration did the debtors          12        A. Not that I'm aware. It was a
  13   receive in connection with that series of               13   concession that was asked for -- it was a concession
  14   transactions, as you understand it?                     14   that was asked for by AFI.
  15        A. The debtors received -- RCP agreed to           15        Q. Did RCP ever, in fact, reduce the
  16   waive millions of dollars of fees. Their claim was      16   principal amount of its debt?
  17   it was around 16 and a half million dollars of fees.    17        A. Yes.
  18             RCP agreed to reduce the principal            18        Q. Okay. And that was how much?
  19   amount of their loan outstanding to 8 million for       19        A. 4 million.
  20   28 million if certain milestones were met. That         20        Q. And do you know why that occurred?
  21   8 million was going to be in the form of either         21        A. Why?
  22   preferred debt and Hope Notes.                          22        Q. Yes.


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   1       A.    Is that the question? I think it's               1            You're aware that RCP received liens
   2 the same answer. I think it was to help lessen the           2 and security interest as a result of the May 15th
   3 burden for the company. There may have been some             3 transactions; correct?
   4 regulatory reasons, as well, in terms of, you                4       A.    Yes.
   5 know -- that I'm not aware of, but I'm not sure.             5       Q.    Okay. And have you looked at the
   6       Q.    Okay. And you said something about               6 impact on RCP's recovery based on the fact that it
   7 reducing fees.                                               7 was able to get those liens that it didn't have
   8         Can you explain what you meant by                    8 before?
   9 that?                                                        9       A.    No, we have not -- I did not do an
  10     A.     Well, RCP was due prepayment                     10 analysis on that point.
  11 penalties, interest, and a variety of other fees,           11       Q.    So don't know, as you sit here today,
  12 given the initial default.                                  12 how much RCP benefited from getting those liens;
  13     Q. And how much -- how much would have                  13 correct?
  14 been --                                                     14       A.    No, other than what you put in your --
  15         (Discussion off the record.)                        15 other than what you put in your filings.
  16 BY MR. GLENN:                                               16       Q.    Fair enough.
  17    Q. What was the total amount of the fees                 17            And have you reviewed the impact of
  18 and other monetary amounts that you're testifying           18 the recoveries on general unsecured creditors as a
  19 that RCP gave up in connection with that settlement         19 result of the grant of those liens to RCP?
  20 agreement?                                                  20       A.    No.
  21     A. RCP calculated them at 16 and a half                 21       Q.    So as you sit here today, you don't
  22 million dollars, if I remember correctly.                   22 know to what extent general unsecured creditors were


                                                      Page 14                                                        Page 16
   1        Q. Okay. Did you verify those amounts?                1   negatively impacted by the fact that RCP received
   2        A. We did go through them on my interview             2   those liens?
   3   call. I did not calculate them separately.                 3             MR. MORRIS: Objection to the form of
   4        Q. What amounts did RCP get as a result               4        the question.
   5   of the May 15th, 2023, transactions that it would          5             THE WITNESS: No. It wasn't -- no is
   6   not have been able to get before those transactions        6        the answer.
   7   were consummated?                                          7   BY MR. GLENN:
   8        A. What amounts? I don't understand the               8        Q. Okay. Are you familiar with the term
   9   question.                                                  9   "reasonably equivalent value"?
  10        Q. Well, did you --                                  10        A. I am.
  11        A. I'm not sure --                                   11        Q. Okay. Have you done any analysis
  12        Q. Did you analyze the economic impacts              12   economically of the reasonably equivalent value --
  13   to RCP of those transactions?                             13   strike that.
  14        A. Well, RCP was -- they were entitled to            14             Have you done any economic analysis of
  15   what -- you know, they thought was 16 and a half          15   whether the debtors and their estates received
  16   million dollars. So, you know, a certain amount of        16   reasonably equivalent value in connection with the
  17   money there, and then the -- and then the difference      17   May 15th, 2023, transactions?
  18   in the principal that they were owed was                  18        A. No, I don't believe it was -- it was
  19   subordinated. So they may or may not have been able       19   an economic analysis.
  20   to recover on the 8 million.                              20        Q. Okay. Thank you. Okay. We'll come
  21        Q. But have you -- have you actually gone            21   back to that.
  22   back and looked at -- well, I'll back up a second.        22             Can you briefly describe for me your


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   1 educational background following your graduation         1       A.    No, I don't consider myself an expert
   2 from high school?                                        2 in valuation, although a significant portion of my,
   3      A. I attended Emory University 1992 to              3 you know, professional life has been to value
   4 1996, graduated in '96 from the undergraduate            4 companies. But the answer -- the specific answer
   5 business school, got a BBA in finance and marketing.     5 will be no.
   6      Q. Do you hold any accreditations, such             6    Q.       Have you conducted any valuations of
   7 as a CPA or anything like that?                          7 AFI?
   8      A. No.                                              8    A.       No.
   9      Q. Okay. Can you walk me through your               9       Q.    Do you know if anyone on the board or
  10 professional background following your graduation       10 management of AFI has conducted any valuations of
  11 from Emory?                                             11 AFI?
  12      A. I worked at -- I spent, I guess,                12       A.    No, I don't believe so.
  13 from -- from the time I graduated, maybe it was         13     Q. Okay. Has anyone conducted any
  14 '97 or '98 to 2000 -- approximately 2016, I worked      14 analysis of the solvency of AFI, to your knowledge?
  15 at various investment firms, buy-side investment        15         MR. MORRIS: Objection to form of the
  16 firms, mainly specializing in distressed debt and       16       question.
  17 special situations, companies like Halcyon Partners,    17            THE WITNESS: We did not do a specific
  18 Onyx Credit, Brownstone Investment Group,               18    solvency review.
  19 Arrowgrass -- there may be one I'm forgetting.          19 BY MR. GLENN:
  20           In 2016, I believe it was 2016, I was         20    Q. But you used the qualifier "specific."
  21 brought on by a company called Ocean Rig --             21 Why did you do that?
  22 Ocean Rig was an offshore drilling company. They        22   A. Well, nothing official. I mean, you


                                                Page 18                                                         Page 20
   1 were about to undertake restructuring. They brought      1 know, we had our own opinion as to solvency at
   2 me on as a senior restructuring advisor. I worked        2 certain points in time.
   3 with them until -- I believe it was December of          3      Q.    Okay. So -- okay. So what is that
   4 2018. We consummated a restructuring via a Cayman        4 opinion, sir, and whose is it?
   5 Islands [inaudible] arrangement.                         5      A.    Well, the opinion of the board was
   6          Since then I've sat on various boards.          6 when we filed for bankruptcy, the company did not
   7 I believe the number is ten now. I also worked           7 have cash to meet its obligations.
   8 doing financial consulting again for financial           8      Q.    And do you know when the company first
   9 firms, you know, doing what I did before. That's         9 became in that condition, i.e., without sufficient
  10 it.                                                     10 liquidity or resources to pay its obligation?
  11       Q.    Okay. Thank you.                            11      A.    No, I'm not going to have a specific
  12            So have you ever been involved with a        12 date.
  13   company in AFI's line of business relating to         13      Q.    Now, you testified earlier that this
  14   mortgages?                                            14 is, I believe, the tenth board you've served on?
  15       A. No.                                            15      A.    Correct.
  16       Q. Okay. Do you consider yourself an              16      Q.    How many of those boards involved
  17   expert in the field of valuation?                     17 companies either in bankruptcy or experiencing some
  18            MR. MORRIS: Objection to the form of         18 form of financial distress?
  19       the question.                                     19      A.    I'd say they were all experiencing
  20   BY MR. GLENN:                                         20 some form of financial distress. In terms of
  21       Q. I'm sorry. Was there an answer? I              21 bankruptcy, NBG Homes -- do you have my r sum there
  22   didn't hear it.                                       22 or no?


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   1      Q.    I don't.                                            1       Q. Did that company go immediately into
   2      A.    Okay. So I'd say a company called                   2   Chapter 7, or was it in Chapter 11 first and then
   3 NBG Homes, that was a Chapter 11. A company called             3   converted after some point period of time?
   4 BJ Services, that was a Chapter 11. Apex Parks,                4       A. It converted.
   5 that was a Chapter -- a Chapter 7. Nordic Aviation             5       Q. Okay. Converted after some period of
   6 was a Chapter -- was a Chapter 11.                             6   time?
   7           So I think that's four. One, two,                    7       A. Yes.
   8 three, four.                                                   8       Q. How much time?
   9      Q.    Okay. And then we have AFI now in                   9       A. I don't remember specifically. We
 10 bankruptcy; correct?                                           10   were in -- we were in proceedings for several
 11       A.    Five. Yes.                                         11   months.
 12       Q.    Okay. So were you focused on                       12       Q. Was there a DIP loan in that case?
 13 NBG Homes to determine whether a DIP lender should             13       A. I believe there was.
 14 or should not get a release?                                   14       Q. Okay. And your testimony is that that
 15       A.    I believe we did provide releases as               15   DIP loan did not include a release or a waiver by
 16 part of the final settlement, but it was no -- it              16   the debtor in claims against the lender?
 17 was not a -- not in the same way as here. There was            17       A. Not that I recall.
 18 no controversy.                                                18       Q. Okay. Let's go to Nordic Aviation.
 19       Q.    Okay. And in BJ Services, were you                 19   In that case, were you called upon to give a release
 20 called upon to give releasing to a DIP lender?                 20   or a waiver of claims to a DIP lender?
 21       A.    Yes.                                               21       A. There was a global settlement to
 22       Q.    Okay. And can you describe for me the              22   provide releases. That particular case had multiple


                                                        Page 22                                                     Page 24
   1 circumstances of that matter?                                  1 boxes. So I'm not -- I don't remember if our box
   2     A. There were general -- there were                        2 gave specific releases or not -- I mean, that we had
   3 general releases -- there were general releases as             3 actually signed off on them.
   4 part of the settlement to the -- to various parties.           4     Q. The question I'm asking you, to make
   5      Q. So in that matter, did you vote to                     5 sure we're on the same page, is: When that DIP loan
   6 provide the DIP lender with a release the beginning            6 was first filed, was there a release of claim and/or
   7 of the bankruptcy or some point later in terms of              7 a waiver of claim subject to a committee right to
   8 the bankruptcy?                                                8 challenge releases and waivers?
   9     A. No, it was later.                                       9      A.    Not that I recall.
  10     Q. Okay. So you didn't agree to give a                    10      Q.    Okay. Now, let's talk about AFI.
  11 release, you know, when the DIP financing was                 11         So in AFI, you filed a DIP at the
  12 originally provided?                                          12 beginning of the case; correct?
  13     A. Correct.                                               13     A. Correct.
  14     Q. And that release was ultimately                        14           MR. MORRIS: Objection to the form of
  15 provided as part of a global settlement?                      15      the question.
  16     A. Correct.                                               16 BY MR. GLENN:
  17     Q. Okay. Apex 7, were you called upon in                  17    Q. Sorry. I'm having some acoustic
  18 that matter to give a release of a DIP lender?                18 problems again.
  19     A. Well, I don't believe releases were                    19        Was there a waiver of claims or
  20 given, so no.                                                 20 proposed release in the DIP loan that was filed at
  21     Q. You think that was a Chapter 7?                        21 the beginning of this case?
  22     A. Correct.                                               22      A.    At the beginning of the case, I don't


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   1 believe so. There might have been. But the                    1 communications we had with the DIP lender, that it
   2 second -- the final order did have releases.                  2 was necessary to provide that release.
   3      Q.    Are you aware that the original DIP                3       Q.    Okay. So just so I can distill this,
   4 order included a challenge period?                            4 you made the decision to provide a final release
   5      A.    Yes.                                               5 based on the DIP lender's demand for that release
   6      Q.    And what is your understanding of the              6 and your determination that the company needed the
   7 reason for that challenge period?                             7 DIP loan?
   8      A.    To provide the various parties with                8       A.    Yes, if we did not -- if we did not
   9 time to -- time to examine if they agreed with the            9 provide the release, it was our belief that we were
 10 releases or, you know, to make objections to the              10 not going to get the -- the final DIP order -- DIP
 11 judge.                                                        11 finance. We would not have any more money.
 12       Q.    And have you seen that structure and              12       Q.    And if there was no need for that DIP
 13 process in prior DIP loans?                                   13 loan, were you willing to refuse to provide such a
 14       A.    Challenge periods?                                14 release to the DIP lender?
 15       Q.    Yes.                                              15            MR. MORRIS: Objection, calls for a
 16       A.    Yes.                                              16       hypothetical.
 17       Q.    Okay. And then at some point in time,             17            THE WITNESS: Yes, I think -- I think
 18 there was a determination made to give RCP a release          18       if -- the reason that we did that was because
 19 notwithstanding the challenge period; correct?                19       we felt like we needed the money to wind down
 20       A.    Yes.                                              20       the operations of the estate or to
 21       Q.    Okay. When did that occur?                        21       reorganize. We needed access to the -- we
 22       A.    When we went for the final -- when we             22       needed access to the DIP loan.


                                                       Page 26                                                         Page 28
   1 went to put in the final DIP order.                           1          If we had not needed access to the DIP
   2      Q.    Okay. And was that before or after                 2     loan, we certainly would not have -- we
   3 the committee had filed its standing motion and               3     certainly would not have done it in the way
   4 proposed complaint?                                           4     that we did.
   5      A.    I believe it was before.                           5 BY MR. GLENN:
   6      Q.    Okay. Did you consult with the                     6     Q. Now, you're aware that the creditors
   7 Official Committee of Unsecured Creditors before you          7 committee does not want that release to go forward;
   8 decided to provide that release to RCP?                       8 correct?
   9      A.    No.                                                9     A. Right.
 10            MR. MORRIS: Objection to the form of               10     Q. Correct?
 11       the question.                                           11     A. Yes.
 12 BY MR. GLENN:                                                 12     Q. Okay. Thank you.
 13       Q.    The answer was no?                                13          Now, under what circumstances would
 14       A.    The answer is no.                                 14 you be prepared -- or strike that.
 15       Q.    Okay. Why not?                                    15          Have you considered the circumstances
 16       A.    First of all, I'm not sure there was              16 where you would be prepared to allow the creditors
 17 an official committee yet. I have to go back and              17 committee to move forward and not to provide the
 18 look at the timing.                                           18 release to RCP?
 19            Second of all, it was a unique                     19          MR. MORRIS: Objection to the form of
 20 circumstance where we were basically told we were             20     the question. To the extent it calls for
 21 going to be cut off from financing, and we made the           21     attorney-client communications, I direct the
 22 determination at that point, given the                        22     witness not to answer.


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   1           But, otherwise, you go right ahead.                  1 investigation?
   2           THE WITNESS: Well, I think I'll take                 2     A. I led the investigation.
   3      your advice then.                                         3     Q. Okay. Who else has worked on it?
   4 BY MR. GLENN:                                                  4      A. Well, I -- it's my investigation. I
   5      Q.    So the only circumstances where you've              5 did it in conjunction with -- you know, with counsel
   6 considered not providing that release are in                   6 providing certain advice like any counsel would, but
   7 conjunction with your communications with counsel.             7 it is my investigation.
   8           Is that your testimony, sir?                         8       Q. Okay. And have you employed the
   9      A.    No.                                                9 services of anybody other than your counsel in this
 10            MR. MORRIS: You can answer the                     10 investigation?
 11       question if it isn't privileged.                        11         A. No.
 12            THE WITNESS: Okay. Say the question                12         Q. And when you say your counsel, you
 13       again.                                                  13    mean the Pachulski law firm?
 14 BY MR. GLENN:                                                 14         A. Correct.
 15       Q.    Yes. So the question I have is: Have              15         Q. Okay. Has Mr. Avila had a role in
 16 you considered the circumstances where you may not            16    this investigation?
 17 provide that release to RCP?                                  17         A. No.
 18            And I think there was an objection                 18         Q. Okay. Has anybody else at AFI other
 19 that you're not supposed to answer based on                   19    than you had a role in the investigation?
 20 privileged communications. And I'm asking you, have           20         A. No.
 21 you considered not providing that release in the              21         Q. Okay. Is it fair to say that the
 22 context of any nonprivileged communications or                22    division of labor between you in your role in the


                                                     Page 30                                                      Page 32
   1   analysis?                                                    1 investigation and Pachulski' role is that you've
   2        A. No, I believe the -- we believe -- I                 2 investigated the facts and they've investigated the
   3   believe that the release is appropriate at this              3 law?
   4   point.                                                       4     A. I would say it's fair to say that I
   5        Q. Okay. Why is that?                                   5 investigated the facts. I investigated the law, and
   6        A. Well, now we've met the requirements                 6 if I had questions about certain aspects of the law,
   7   of the challenge period. The DIP lenders are                 7 I would consult with them.
   8   providing and have provided financial wherewithal to         8       Q.   And are you a lawyer?
   9   get us through this case and to do it in the most            9       A.   I'm not.
  10   efficient manner possible. And we investigated any         10        Q.   Do you have any formal legal training?
  11   reasons not to provide the release, and we found           11        A.   No.
  12   that it was appropriate to provide the release.            12     Q. Okay. And what makes you qualified to
  13        Q. And who is "we"?                                   13 do any legal investigation?
  14        A. Me.                                                14     A. I don't -- well, I wouldn't call it a
  15        Q. Okay. So -- and this is as a result                15 legal investigation. I would call it an
  16   of your investigation?                                     16 investigation. I spent many years, as I previously
  17        A. Well, my investigation determined that             17 explained, you know, about 20 years, on the
  18   there were no causes of action that would not allow        18 investment side where we looked at these sort of
  19   AFI to provide a release.                                  19 issues all the time in terms of -- you know, in
  20        Q. Let's talk about the investigation                 20 conjunction with potential investments where we were
  21   that you're referring to.                                  21 investing, you know, millions and tens of millions
  22             What has been your role in this                  22 of dollars.


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   1             I've sat on ten boards, including               1 forgot, but that's the bulk of it.
   2   boards where I have done other investigations. So I       2       Q.    So the e-mails that you referenced,
   3   feel like I'm qualified to do what was required here      3 how were those selected?
   4   under this particular investigation.                      4       A.    We did a search of -- I believe it was
   5        Q. And -- but you said that you                      5 a search of the e-mails that were Kasowitz and --
   6   investigated the law but that if you had questions,       6 that had Kasowitz involved and the company or --
   7   you consulted with the Pachulski law firm; is that        7       Q.    So e-mails --
   8   correct?                                                  8            (Cross talk.)
   9        A. Yes.                                              9 BY MR. GLENN:
  10        Q. What legal matters did you investigate           10       Q.    I'm sorry. E-mails coming from --
  11   without the participation of the Pachulski firm?         11       A.    I think the parameters.
  12        A. Well, I read through the various                 12       Q.    -- Kasowitz?
  13   documents. I spoke to the various parties. And,          13       A.    I believe the parameters were
  14   you know, the vast majority of this investigation        14 Kasowitz. I think that was the main parameter.
  15   was understanding the various aspects of the amended     15       Q.    Okay. Did you look at any
  16   credit agreement and its -- you know, and the other      16 communications without Kasowitz involving Mr. Bowlby
  17   documents that were signed in May.                       17 and RCP?
  18        Q. Let's talk about your factual                    18       A.    Well, that -- I looked at what I was
  19   investigation.                                           19 provided. I can't remember every single e-mail, but
  20             Can you describe for me what your              20 I told you the parameters. So if there were e-mails
  21   factual investigation has encompassed? What have         21 outside of those parameters, you know, I wouldn't
  22   you done?                                                22 know how they got in there, but I -- whatever --


                                                Page 34                                                                 Page 36
   1        A. Sure. I started by reading the                    1   whatever e-mails I had access to, I tried to go
   2   various filings, for example, Mr. Bowlby's objection      2   through and look to see which ones were relevant.
   3   to the initial first day motions, Mr. Bowlby's            3        Q. Who selected the parameters for the
   4   declaration as part of his objection to the final         4   e-mail search?
   5   DIP order.                                                5        A. I believe it was the Paladin team.
   6             I read through the various Kasowitz             6             THE REPORTER: I'm sorry, the what?
   7   letters to the -- to Reverence, including the             7             THE WITNESS: Paladin, P-A-L-A-D-I-N.
   8   December 2022 letter and the August 2023 letter.          8             They're the ones -- I wouldn't say
   9             I conducted phone -- Zoom calls,                9        they selected them. They're the ones who --
  10   interviews with the various parties, including           10        I requested them, and they presented them to
  11   Mr. Bowlby, including the Kasowitz team, including       11        me, presented a link.
  12   RCP.                                                     12   BY MR. GLENN:
  13             I read through, you know, I guess              13        Q. So that's what I'm trying to
  14   hundreds of e-mails that I was able to access via        14   ascertain.
  15   the company's servers.                                   15             Who determined the search terms or
  16             I read through all the various -- the          16   search parameters for this set of e-mails that you
  17   pertinent parts of the documents, including --           17   reviewed?
  18   including the credit agreements, including -- and,       18        A. I determined what I wanted -- I
  19   again, all the other various documents that were         19   determined I wanted to see the e-mails that involved
  20   signed alongside the credit agreement.                   20   Kasowitz. I requested, because they had access to
  21             There may have been -- there may have          21   the servers and whatever else, that the Paladin team
  22   been other things, as well, that I may have just         22   provide them.


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   1        Q. Okay. And when did this occur?                   1 stated. So if the Kasowitz team was after that --
   2        A. I mean, it must have been -- it was              2 disqualified afterwards, then -- then it would be
   3   either late September or early October or into           3 before. I just don't remember the date.
   4   October.                                                 4     Q. So Kasowitz was disqualified, I
   5        Q. Okay. And when did you complete --               5 believe, on or about October 25th or October 26th.
   6        A. And it may have been further than                6          Did you complete your investigation
   7   that. I'm not sure.                                      7 before then?
   8        Q. When did you complete the review of              8     A. I believe it was before then.
   9   those e-mails?                                           9     Q. Now, you're aware that AmeriFirst has
  10             MR. MORRIS: Objection to the form of          10 waived the privilege now with respect to certain of
  11        the question.                                      11 the Kasowitz communications that you reviewed?
  12             THE WITNESS: Well, we completed the           12       A. Yes.
  13        investigation in October. So I'd say               13       Q. When was the determination made to
  14        sometime in that time frame.                       14   waive that privilege?
  15   BY MR. GLENN:                                           15       A. I think fairly recently. I don't
  16        Q. Okay. So you don't know exactly when            16   know. I think in the last -- the determination was
  17   you completed the review of the Kasowitz e-mails,       17   made in the last couple weeks.
  18   but you're confident it was before the end of the       18       Q. And are you aware that Kasowitz could
  19   investigation?                                          19   not talk to the creditors committee after the
  20        A. I'm not saying -- I don't remember --           20   disqualification based on the fact that the company
  21   I don't recall if I ever looked at e-mails after        21   was maintaining the privilege?
  22   that point, but the ones that I used specifically       22       A. At that point, yes.


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   1 for the investigation and for -- you know, for the         1       Q. Okay. Why was the determination made
   2 filings that we used for the investigation were            2   to waive the privilege?
   3 concluded, obviously, in the time I did the                3            MR. MORRIS: Objection to the form of
   4 investigation.                                             4       the question. Direct the witness not to
   5           I may have gone back and looked at               5       answer to the extent that it reveals
   6 e-mails after that point for various other reasons,        6       attorney-client communications.
   7 but not for -- not for necessarily in terms of the         7            You can answer if you know and it's
   8 investigation.                                             8       not subject to that.
   9      Q. Did you complete the review of those               9            THE WITNESS: Yeah, I think there
  10 e-mails before or after Kasowitz was disqualified as      10       was -- I think there was various legal
  11 the litigation counsel or committee counsel in this       11       strategies why we decided to do that, but I
  12 case?                                                     12       do think that would fall under privileged
  13      A. What was the date that Kasowitz was               13       conversations with my counsel.
  14 disqualified?                                             14   BY MR. GLENN:
  15      Q. I don't have that handy.                          15       Q. What do you think the e-mails for
  16           MR. GLENN: Does someone on the Zoom             16   which the privilege has been waived establish in
  17      recall? We can get that date, if not.                17   connection with your investigation, if anything?
  18           THE WITNESS: Well, the answer --                18       A. What -- I'm sorry, what did they what?
  19 BY MR. GLENN:                                             19       Q. What do they establish? What facts or
  20      Q. One second, please. Sorry?                        20   legal principles do they establish?
  21      A. Again, for purposes of the                        21       A. You know, they were mostly just
  22 investigation, I concluded it in the time frame I         22   background filling in -- filling in holes. I


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   1 wouldn't say they established anything particularly         1   first interview I conducted. I interviewed
   2 legal. It just gave me insight into the thoughts            2   Kasowitz. I interviewed Ed Filusch, if I'm
   3 of, you know, specifically Mr. Bowlby and, you know,        3   pronouncing his name correctly. I think Matt Stein,
   4 AFI at that time. That's it.                                4   as well. And then I interviewed RCP and their
   5       Q. Who is Paladin?                                    5   counsel.
   6       A. Paladin is the firm that Scott                     6         Q. Who at RCP?
   7 Avila -- I believe he's the -- I don't know what his        7         A. Well, the bulk of the presentation was
   8 title is, but he's the founder of Paladin.                  8   provided by their counsel, which was the Quinn
   9       Q. What role, if any, did Paladin play in             9   Emanuel team, but the -- I believe Peter Aberg was
  10 the investigation other than providing you with            10   there. Maybe Steven Herrup was there. Theodore
  11 those e-mails?                                             11   Samets was present. There may have been others.
  12       A. I asked for a search parameter. They              12         Q. What was the second name? Can you
  13 had access to the e-mails, and they provided them.         13   spell that because I didn't get that? I know Aberg
  14       Q. And so --                                         14   and Samets. What was the other name?
  15            (Cross talk.)                                   15         A. Herrup is the last name, H-E-R-R-U-P.
  16 BY MR. GLENN:                                              16         Q. Okay. Thank you.
  17       Q. -- that's all they did?                           17             When did this meeting --
  18            Just -- I just want to make sure I'm            18         A. I think that's how it's spelled.
  19 clear that Paladin's only role in your investigation       19         Q. When did this meeting occur?
  20 concerned the search and recovery of the e-mails           20         A. I don't remember the exact dates, but
  21 that you've testified to?                                  21   I think the first interview I conducted was the
  22       A. I'm not going to say "only." I                    22   6th -- it was a Friday, I think -- of Eric, and then


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   1   believe -- I mean, there may have been one or two         1 the other interviews occurred the next week.
   2   very small financial questions I asked them. I            2      Q. 6th of what?
   3   can't think of what those would be off the top of my      3         A. October.
   4   head, but they played a very minor role, if any,          4         Q. Okay. So you interviewed them twice
   5   besides what I just stated.                               5   on the 6th and then the week after that?
   6        Q. Now, we were talking about the                    6         A. No. I interviewed Eric on the 6th. I
   7   [inaudible] process of your investigation and you         7   think it was the 6th. Don't hold me to it, but
   8   had talked to me about the filings and letters and        8   it --
   9   e-mails that you reviewed.                                9         Q. Okay.
  10             Did you do anything else that you want         10         A. I think it was Friday, the 6th. And
  11   to add to describe, you know, the conduct of your        11   then the other two parties individually the next
  12   investigation?                                           12   week.
  13        A. Well, like I said, I reviewed -- I               13         Q. I see.
  14   reviewed the e-mails. I reviewed the various             14             And were these in person?
  15   filings, including the ones I mentioned and others,      15         A. Over Zoom.
  16   as well. I conducted in-depth interviews with the        16         Q. Okay. Who else participated in the
  17   various parties. And that was the bulk of my             17   meetings other than you and the representatives of
  18   investigation.                                           18   RCP and their counsel?
  19        Q. Let's talk about the interviews that             19         A. It was representative of Pachulski.
  20   you did.                                                 20   Either John Morris or Max Litvak was present, maybe
  21             Who did you interview?                         21   both, I don't remember, but at least one of them was
  22        A. I interviewed Mr. Bowlby. He was the             22   present.


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   1        Q. How long did the meetings occur?                  1       A.      I tried to.
   2        A. How long did they last?                           2    Q. Okay. And what was your assessment of
   3        Q. How long did they last? Yes, thank                3 Mr. Bowlby's credibility?
   4   you.                                                      4    A. I believe he was overall fairly
   5        A. I'd say the meeting with Eric was                 5 honest. You know, he stated his case as he believed
   6   probably an hour to an hour and a half. The same          6 it.
   7   with Kasowitz. RCP was a little longer, maybe three       7     Q. Okay. What was your assessment of the
   8   hours.                                                    8 credibility of the Kasowitz representatives that you
   9        Q. Did you take notes of those meetings?             9 interviewed?
  10        A. I did.                                           10       A.      I believe they were credible.
  11        Q. Are you still in possession of those             11      Q. And what about the RCP
  12   notes?                                                   12 representatives?
  13        A. I don't believe so.                              13      A. I believe they were credible, as well.
  14        Q. Where are those notes now?                       14      Q. Now, you have not sat down with the
  15        A. I mean, they were very -- they weren't           15 creditors committee and its representative to get
  16   what I would call notes. They were just, you know,       16 its perspective on providing the releases and the
  17   pieces of information that I put on a piece of paper     17 path forward; correct?
  18   and then were incorporated into the -- into the          18           MR. MORRIS: Objection to the form of
  19   final document. So I don't have -- I did not keep        19      the question.
  20   possession of those notes.                               20           THE WITNESS: Well, I believe the
  21        Q. What document are you referring to?              21      committee -- I think we've stated multiple
  22        A. Well, we put -- as part of the final             22      times that I've been open to speaking to the


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  1 DIP order, we laid out our case as to -- you know,           1      committee. They never reached out to speak
  2 in-depth as to what we did for the investigation and         2      to me.
  3 what our conclusions were.                                   3 BY MR. GLENN:
  4       Q.   Are you referring to the objection to             4      Q.      Have you ever had any communications
  5 the committee's standing motion?                             5 with Mr. Dundon?
  6       A.   No. No. We filed this as part of the              6      A.      I don't believe directly.
  7 final DIP order. So it must have been the second or          7      Q.      Okay. Have you ever had any
  8 third week of October.                                       8 communications with Mr. Denick [ph]?
  9       Q.   Okay. So your testimony is that you               9      A.      Not directly, as far as I can recall.
 10 discarded the notes and whatever work product or            10      Q.      Have you ever had any communications
 11 information you derived from those meetings ended up        11 at all with any members of the committee?
 12 in the court filing that you're referring to?               12      A.      No, not that I recall.
 13       A.   My conclusions did, yes.                         13      Q.      Okay. Do you recall any efforts to
 14       Q.   Okay. So if I wanted to know what was            14 remove any members from the creditors committee in
 15 said in these meetings, do you have any written,            15 this case?
 16 audio, video record of those meetings?                      16      A.      Yes, I wouldn't say we officially -- I
 17       A.   No.                                              17 mean, we -- we asked them to provide proof of
 18       Q.   Okay. Do you know if the Pachulski               18 claims, and we did mention that we were not
 19 firm took notes of those meetings?                          19 convinced they were -- you know, they were actually
 20       A.   I have no idea.                                  20 creditors.
 21       Q.   Okay. Did you assess the credibility             21      Q.      When you say "we," who do you mean?
 22 of the parties to those meetings?                           22      A.      Well, the -- AFI, the board, and Scott


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   1 Avila.                                                    1   call, and they sent it over electronically after the
   2     Q.     Okay. And did you work with RCP on             2   call.
   3 any effort to remove members from the creditors           3         Q. Was the purpose of that meeting for
   4 committee?                                                4   them to walk you through their presentation?
   5      A.    Personally.                                    5         A. Well, the presentation was part of
   6      Q.   Well, are you aware of any effort on            6   their -- I was trying to -- I was trying to
   7 behalf of AFI to work with RCP to remove members          7   ascertain -- you know, I heard certain allegations
   8 from the creditors committee?                             8   from Eric and from Kasowitz, and I was trying to
   9      A.    I don't know about -- what you mean by         9   ascertain -- and read the various allegations in the
  10 "working with RCP." The company had -- the company       10   various filings. So I was trying to ascertain their
  11 had questions as to whether these were legitimate        11   side of the story regarding those allegations.
  12 creditors, and we put -- you know, we went through       12         Q. Do you have a copy of the RCP
  13 the motions that we were supposed to with the court      13   presentation?
  14 to have them -- to have them show proof that they        14         A. I believe it's a public -- I believe
  15 were.                                                    15   it was filed as part of -- as part of the -- it's
  16           So I -- you know, I don't -- I don't           16   definitely filed somewhere, at least I think it is,
  17 think it's a question of RCP. I don't know what          17   but yes.
  18 their -- you know, they may have their own opinions.     18         Q. Other than that -- thank you.
  19      Q.    Did you ever discuss -- strike that.          19              So other than that presentation, did
  20          Are you aware of any discussions on             20   RCP provide you with any documents?
  21 behalf of AFI, on the one hand, you know, including      21         A. Documents, in terms of the
  22 its representatives, with RCP and its                    22   investigation, I don't believe directly. I don't


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   1 representatives concerning the potential removal of       1   know if -- you know, I mean, we -- we, obviously --
   2 any members from the creditors committee?                 2   we, obviously, received whatever was available to
   3     A. Those are not -- those are not                     3   everyone in terms of, you know, credit agreements
   4 conversations that I would have been privy to.            4   and settlement agreements and everything else.
   5     Q. So the answer is you're not aware of               5             I can't recall them sending anything
   6 any of those communications?                              6   else, but the vast majority of their case -- the
   7     A. I'm not aware of any specific                      7   vast majority of my interview was them walking me
   8 communications.                                           8   through that presentation.
   9    Q. Okay. Are you aware generally that                  9        Q. And you had, I think, two or three
  10 those communications may have occurred?                  10   different interviews with them?
  11         MR. MORRIS: Objection to the form of             11        A. What was that?
  12     the question.                                        12        Q. You had two or three interviews with
  13          THE WITNESS: Again, I just don't know           13   RCP?
  14     exactly what occurred.                               14        A. Well, I mean, I interviewed them
  15 BY MR. GLENN:                                            15   formally once. I had follow-up questions that I did
  16     Q. Have you reviewed any documents                   16   speak with them after that first call, but I
  17 provided by RCP in connection with your                  17   wouldn't call it an interview at that point.
  18 investigation?                                           18        Q. Okay. So the predominant time you
  19     A. Yes.                                              19   spent with them was the meeting in which the
  20     Q. What documents did you review?                    20   presentation was provided to you?
  21     A. They went through -- they had a                   21        A. Yes.
  22 presentation that they provided at the time of the       22        Q. Did you give them any questions in


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   1 advance of that interview?                                  1            So the interim DIP order that was
   2    A. I don't -- I don't think so.                          2 entered at the beginning of the case already
   3        Q. Did you have any communications with              3 included a waiver of claims by the debtor; correct?
   4   them about the interview before it occurred?              4       A.    Yes, but I -- yes.
   5        A. I mean, not specific. I mean, I have              5       Q.    Okay. And then -- and then you
   6   talked to them in the past, I mean, but not specific      6 interviewed RCP after that but before the final DIP
   7   to this -- not specific to this investigation.            7 order was proposed; correct?
   8      Q. So who set up the interview?                        8       A.    Yes.
   9      A. I can't recall if I set it up or if it              9       Q.    So why did you do this investigation
  10 was done through Pachulski. I don't remember.              10 when you had already waived claim against RCP
  11      Q. What was the agenda for the interview?             11 subject to the committee's standing?
  12      A. Well, the agenda was to hear -- I had              12       A.    I'm sorry, I don't understand the
  13 certain questions regarding, again, the allegations        13 question.
  14 that were laid out, first, in the filings.                 14       Q.    Because the debtor had already waived
  15          Secondly, after having spoken to both             15 claims against RCP, why did you go about even having
  16 Mr. Bowlby and Kasowitz, so the intention was to           16 this interview? What was the purpose?
  17 hear their side of the story and for them to provide       17       A.    Well, because we were going to be --
  18 me with, you know, any materials or any information        18 this was for the final waiver, and we -- that was
  19 that would help tell their side of the story in            19 going to be provided in the final DIP order, and we
  20 terms of these allegations.                                20 wanted to be able to go to the judge and -- you
  21      Q. This was already after the debtor had              21 know, and tell them with a straight face that we
  22 waived its right and released its claims against RCP       22 believe that the -- that the waivers that were


                                                  Page 54                                                           Page 56
   1 subject to the committee's ability to seek standing;        1 included in the final DIP order were appropriate.
   2 correct?                                                    2         And we had to do it in the time frame
   3     A. I'm sorry, say that again. Yeah, I                   3 that we did. Because, as I said, at the time the
   4 don't understand the question.                              4 lender had threatened or told us that there was
   5     Q. So the interviews chronologically,                   5 going to be no more financing until the waiver was
   6 sequentially, the interviews you conducted are after        6 approved as part of the final DIP order.
   7 the bankruptcy filing, after your original DIP was          7     Q. And when was that request made by
   8 approved waiving claims against RCP, releasing              8 RCP -- or the demand made by RCP for the final
   9 claims against RCP, subject to the committee's right        9 release?
  10 to get standing; correct?                                  10     A. Sometime between the first DIP order
  11          MR. MORRIS: Objection to the form of              11 and the second.
  12      the question.                                         12     Q. Can you give me any further clarity
  13           THE WITNESS: It was before we asked              13 beyond that?
  14      the -- it was in conjunction with us putting          14     A. I don't remember. It was probably in
  15      in the final DIP order, which did waive the           15 mid to late September.
  16      challenge period but did have releases,               16           MR. GLENN: We've been going for about
  17      meaning we wanted to put it -- we wanted the          17       an hour. So let's take a 5- to 10-minute
  18      investigation to conclude before we went in           18       break.
  19      front of the judge for the final DIP order.           19           THE VIDEOGRAPHER: Going off the
  20   BY MR. GLENN:                                            20       record. The time is 11:05.
  21     Q.      But I just want to make sure I'm               21           (Recess from the record.)
  22 clear.                                                     22           THE VIDEOGRAPHER: We are back on the


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   1       record. The time is 11:17.                            1      Q.    Okay. And are you aware of the
   2   BY MR. GLENN:                                             2 importance of a warehouse line historically to AFI's
   3       Q. So, Mr. Dane, I'd like to ask you                  3 business?
   4   about the discussions with RCP that you've                4      A.   Yes.
   5   referenced.                                               5     Q. Okay. Did you discuss RCP's conduct
   6           Were those discussions about legal                6 relating to any existing warehouse lines that the
   7   defenses, factual issues, or both?                        7 company historically had had and negotiations about
   8       A. Which discussions?                                 8 replacing those warehouse lines in conversation with
   9       Q. With RCP that you've testified to.                 9 RCP?
  10       A. Can you be more specific?                         10     A. Pre or post -- pre or post-credit
  11       Q. Yes. I want to understand what you                11 agreement -- amended credit agreement?
  12   discussed during these calls and interviews and          12     Q. Both. Both.
  13   presentations and --                                     13      A.   Yes. Yes, we did. We discussed both.
  14       A. Right.                                            14      Q. Okay. So let's discuss pre-credit
  15       Q. I'll just break it down.                          15 agreement.
  16           Did they talk about legal defenses               16        When you say "pre-credit agreement,"
  17   that they had to any claims that --                      17 you're referring to May 15, 2023; correct?
  18           THE REPORTER: I'm sorry, you're                  18     A. Yes.
  19       breaking up again, Mr. Glenn.                        19     Q. What did you discuss with RCP about
  20           MR. GLENN: Let me see if I can fix               20 the history of the warehouse lines and RCP's
  21       it. My mic might have switched again. Hold           21 involvement with them pre-credit line?
  22       on.                                                  22      A.   The main topic of discussion was that


                                               Page 58                                                         Page 60
   1   BY MR. GLENN:                                             1   they had sent a notice of default in early December
   2        Q. Okay. So did you talk about their                 2   of 2022 where they had alerted the warehouse lenders
   3   legal defenses to any claims in that discussion?          3   that there had been an event of default that could
   4        A. They gave me their view of why the                4   lead to the loans being called early.
   5   allegations, as laid out by Mr. Bowlby and the            5        Q. So that's a historical fact; correct?
   6   Kasowitz legal team, were invalid.                        6        A. It's a what?
   7        Q. Okay. Can you describe for me in                  7        Q. Historical fact; correct?
   8   general terms what they said?                             8        A. What's a historical fact?
   9        A. I mean, you're going to have to be a              9        Q. That they -- that they issued that
  10   lot more specific. There was specific allegations,       10   notice of default.
  11   and they went through the allegations one by one and     11        A. Yes.
  12   why they thought they -- their basic defense was         12        Q. Okay. So did they describe for you
  13   that they acted within the confines of the credit        13   why they did it?
  14   agreement.                                               14        A. Yes.
  15        Q. Now, I'd like to talk to you about               15        Q. Why did they do it?
  16   AFI's need for a warehouse line.                         16        A. They felt they were obligated to alert
  17            Are you familiar with that topic?               17   the warehouse lenders because they were a party --
  18        A. Yes.                                             18   they and AFI were party to a subordination -- a
  19        Q. Okay. And have you ever been involved            19   subordination agreement.
  20   with a warehouse line during your career?                20        Q. Have you seen the --
  21        A. I mean, I worked for a CLO shop. So              21             (Cross talk.)
  22   we had warehouse lines.                                  22


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   1 BY MR. GLENN:                                               1       A.    I -- that's what Mr. Bowlby -- that's
   2    Q. Have you see the allegation --                        2 Mr. Bowlby's assertion. I don't believe -- I mean,
   3       A.   Go ahead.                                        3 I believe that RCP would agree that they -- that
   4       Q. Hello?                                             4 they wanted those to go through.
   5       A. Yes.                                               5       Q.    But the question I'm asking is: Did
   6         MR. GLENN: Okay. You ready?                         6 you ask RCP whether they, in fact, gave Mr. Bowlby
   7         THE WITNESS: Yeah.                                  7 assurances that they would let those asset sales go
   8         MR. GLENN: The court reporter?                      8 through before they went ahead and issued the notice
   9         THE REPORTER: Yeah, I'm ready.                      9 of default?
  10         MR. GLENN: Okay.                                   10            MR. MORRIS: Objection --
  11   BY MR. GLENN:                                            11            THE WITNESS: No, I didn't --
  12       Q. So have you seen the allegations in               12            MR. MORRIS: -- to the form of the
  13   the committee's proposed complaint concerning the        13       question.
  14   asset sales that were scuttled as a result of that       14            THE WITNESS: I didn't ask them that
  15   notice of default being issued?                          15       specific question.
  16       A. Yes.                                              16 BY MR. GLENN:
  17        Q. Did you discuss that matter with RCP?            17       Q.    Did you do any factual investigation
  18        A. I mean, to some extent. I don't                  18 otherwise on that issue?
  19   remember the exact conversations in terms of -- they     19       A.    No, I didn't find the relevance. I
  20   certainly explained that that was an issue and that      20 don't find the relevance in the question or the --
  21   it happened.                                             21       Q.    Why is that?
  22       Q.   That it scuttled the asset sales?               22       A.    I don't find the relevance in the --


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   1      A. I wouldn't put it in those terms. I                 1   because -- because of what -- I just don't find the
   2 don't remember the exact words that they used, but          2   relevance. That has nothing to do with the notice
   3 that they were -- there had been talks to sell              3   of default.
   4 certain assets.                                             4       Q. Are you familiar with the doctrine of
   5      Q. And do you know what the impact was of              5   equitable estoppel?
   6 the issuance of that notice of default on the               6        A. No.
   7 proposed asset sales?                                       7       Q. And are you familiar with the doctrine
   8     A. No. Mr. Bowlby would say that they                   8   of reliance and promissory estoppel?
   9 basically shut down at least -- any kind of viable          9        A. No.
  10 price, from his perspective, being able to make            10       Q. So is that the extent of all your
  11 those assets.                                              11   conversations with RCP concerning the historical
  12     Q. Did you discuss RCP's response to                   12   facts on the warehouse line prior to --
  13 that? I'll rephrase that question.                         13             THE REPORTER: I'm sorry, you're
  14           Did you ask RCP whether they disagreed           14        breaking up.
  15 with Mr. Bowlby's assessment?                              15             MR. GLENN: Okay. I'll try again. I
  16     A. No, I didn't ask them that specific                 16        don't know why this is happening.
  17 question.                                                  17             Is that better?
  18     Q. Do you understand that Mr. Bowlby                   18             THE REPORTER: Yes.
  19 contends that prior to issuing that notice of              19             MR. GLENN: You know, I moved, like,
  20 default, that RCP had given Mr. Bowlby certain             20        2 inches to the side. So -- hum, sensitive
  21 assurances that they -- RCP would let those sales go       21        mic.
  22 through?                                                   22


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   1   BY MR. GLENN:                                             1 BY MR. GLENN:
   2        Q. Okay. Did you discuss anything                    2    Q. Okay. What happened with the
   3   concerning RCP's conduct with respect to AFI's            3 warehouse lines after the notice of default was
   4   warehouse line other than what you've testified to        4 issued, if you know?
   5   that occurred before the May 15, 2023, credit             5     A. Effectively, they were shut off
   6   agreement?                                                6 from -- from receiving financing from those -- or
   7        A. They explained why they felt that they            7 from those warehouse lines.
   8   had no other choice but to send a notice of default       8     Q. And do you agree that that had a
   9   and alert the warehouse lenders. That was their --        9 significant impact on the company's ability to
  10   that was the main topic. They went through -- they       10 operate?
  11   provided the language of the subordination               11      A.    Yes.
  12   agreement.                                               12    Q. And it was a significant negative
  13             They showed that it was signed by both         13 impact on the company's ability to operate; correct?
  14   Mr. Bowlby, AFI, and the warehouse lenders. They         14    A. Yes.
  15   were all party to that agreement. And that was           15     Q. Okay. And were the warehouse lenders
  16   their defense.                                           16 ultimately repaid?
  17             They felt that they -- that they --            17     A. I believe -- I believe they were.
  18   their opinion was they had no choice but to send it.     18     Q. Okay. And what happened with the
  19   Mr. Bowlby's opinion was that they had the right to      19 company's ability to deal with the relevant
  20   send it, but they didn't -- they didn't have to. So      20 agencies, Fannie Mae, et cetera, after that notice
  21   those were the two competing stories.                    21 of default but before the May 15th settlement
  22        Q. And did you conduct any investigation            22 agreement?


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   1 whether with RCP or Mr. Bowlby concerning what              1         A. I mean, there was a communication from
   2 happened with the warehouse lines after the notice          2   one of the agencies, but I -- as far as I know, it
   3 of default was issued?                                      3   was -- it had to do with a -- the company's
   4     A. Yes, I spoke with Mr. Bowlby and to                  4   performance during 2022 -- not their performance,
   5 RCP, and Mr. Bowlby made it very clear that he felt         5   their tangible net worth, I think -- I believe.
   6 like the -- the notice of default had effectively           6             I don't remember exactly, but it was
   7 shut down the company.                                      7   not -- it was specifically for the period of 2022.
   8     Q. And did you see any evidence                         8   I don't believe it was necessarily directly related
   9 contradicting that?                                         9   to what happened as a result of the notice of
  10      A. No, I mean, I think it was clear that              10   default. No one provided me evidence that that was
  11 the -- that that had a -- that that definitely had a       11   the case, as far as I remember.
  12 large impact on the company's ability to continue          12         Q. Okay. So you're not aware of any
  13 underwriting new loans.                                    13   regulatory difficulties or pressures that AFI
  14     Q. What happened with the warehouse                    14   experienced during 2023 after the notice of default
  15 lenders, if you know, once the default was issued?         15   was issued?
  16     A. You broke up at the end. What                       16         A. I'm sure there could have been. So --
  17 happened what with the warehouse?                          17   but I'm just -- the actual direct communication that
  18           MR. GLENN: Let me change microphones,            18   I was made aware of was not necessarily a result of
  19       guys. I'm sorry about this. One second.              19   what happened at the end of 2022. It was a result
  20           Can you hear me now?                             20   of --
  21           MR. MORRIS: I can hear you.                      21             MR. BOWLBY: I've forgotten that
  22                                                            22         they're actually in court beating up on


                                                                                     17 (Pages 65 to 68)
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   1       Jeffrey Dane right now.                              1       Q.    Has he ever served as a CRO on any
   2             MR. GLENN: Thanks, Mr. Bowlby. You             2 other capacity with any company associated with RCP?
   3       may want to mute.                                    3      A.    You're going to have to ask him. I
   4             VOICE: Sorry about that.                       4 don't know.
   5             THE WITNESS: So yeah. No, I -- did             5       Q.    Okay. There came a time when there
   6       they have -- did they have issues with the           6 was a term sheet that was agreed to in March of 2023
   7       rating agencies? It could be, but the direct         7 between RCP and AFI.
   8       communication was -- the way I read it and           8            Are you familiar with that?
   9       the way it was explained was not necessarily         9      A.    Yes.
  10       a direct correlation to the -- to that              10       Q.    Okay. And how did you become familiar
  11       notice. I'm not saying there were no issues         11 with that?
  12       with the rating agencies.                           12      A.    I don't -- I mean, it definitely --
  13   BY MR. GLENN:                                           13 you know, it was discussed as part of the
  14       Q. Did you review any communications to             14 investigation with Mr. Bowlby and the Kasowitz team
  15   and from the rating agencies as part of your            15 and RCP.
  16   investigation in this case or your service as an        16       Q.    Okay. So that came up in your
  17   independent director?                                   17 discussions with the interviews?
  18       A. Yes, I did. As I explained, there was            18      A.    Yeah.
  19   a communication where the rating agencies shut down     19       Q.    Okay. Let's start with RCP.
  20   a portion of -- or put them on some kind of -- I        20            What were your discussions with RCP
  21   think it was they could not sell directly to the        21 about the purpose and negotiations underlying that
  22   window at -- I think it was -- I don't remember if      22 term sheet?


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   1   it was Fannie or Freddie, but that was a                 1        A. Well, the -- AmeriFirst was in
   2   consequence. They were going have to go through a        2   default, and AmeriFirst and RCP were attempting to
   3   middleman, effectively.                                  3   work out a solution that could put the company back
   4             And, again -- and then there were --           4   on its feet and take it out of its default,
   5   you know, there were references in some of the           5   effectively, you know, cure its default.
   6   e-mails. I don't remember specifically what they         6        Q. And who told you that at RCP?
   7   were.                                                    7        A. At RCP?
   8        Q. Who gathered those e-mails for you?              8        Q. Yes.
   9        A. I think I answered that.                         9             MR. MORRIS: Objection to the form of
  10        Q. That's Mr. Avila's firm, Paladin?               10        the question.
  11        A. Yes.                                            11             THE WITNESS: I don't remember the
  12        Q. Okay. And what is Mr. Avila's                   12        exact person, but it's part of the
  13   relationship with RCP?                                  13        presentation. So, you know, it's in the
  14             MR. MORRIS: Objection to the form of          14        presentation --
  15        the question.                                      15   BY MR. GLENN:
  16             THE WITNESS: I mean, Mr. Avila is the         16        Q. Okay.
  17        chief restructuring officer of AmeriFirst.         17        A. -- from Quinn Emanuel.
  18   BY MR. GLENN:                                           18        Q. What were your discussions with
  19        Q. Okay. Does he have a relationship               19   Mr. Bowlby about that term sheet?
  20   with RCP?                                               20        A. The discussions were, you know, just
  21        A. Not that I know of, besides his roles           21   from his perspective what he was thinking in terms
  22   in this case.                                           22   of why did he sign it, given that he had made


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   1 certain allegations, so why then go ahead and sign a            1   on what everyone's thinking was during that time
   2 term sheet and not pursue other avenues.                        2   period, as well, but the vast majority was by
   3      Q. Can you elaborate on that? I'm not                      3   speaking to the parties. I gave everyone the
   4 following you.                                                  4   opportunity to tell me exactly what they thought
   5      A. Well, Mr. Bowlby could have gone down                   5   happened during that time period, and they all
   6 the path of suing RCP. He made -- you know, there               6   elaborated on that talk.
   7 was letters back and forth. He made various                     7        Q. You've reviewed the May 15th, 2023,
   8 demands. Kasowitz sent out a letter demanding RCP               8   series of agreements; correct?
   9 put in -- I think it was 15 million of capital and              9        A. Yes.
  10 take $10 million as final payment for their                    10        Q. What do you understand that -- strike
  11 outstanding loan.                                              11   that.
  12         You know, he seemed to believe that                    12             Do you have an understanding of what
  13 RCP had caused him tens of millions of dollars of              13   the parties' respective obligations were concerning
  14 damage. So the question was: Why didn't you pursue             14   the implementation of a new warehouse line under
  15 that and instead why did you sign -- sign a document           15   those agreements?
  16 which was, you know, first elaborated on the term              16        A. Yes.
  17 sheet, which would provide waivers for all that,               17        Q. What is your understanding?
  18 what he considered, you know, bad activity on the              18        A. Well, there were portions of the
  19 part of RCP.                                                   19   credit agreement that specifically had limitations
  20      Q. But those releases did not occur until                 20   on indebtedness, and there were certain carve-outs
  21 the May 15, 2023, transactions; correct?                       21   to those limitations.
  22     A. Well, they're in the term sheet. They                   22             There was a second amended --


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   1 were contemplated.                                              1 amendment to the amended credit agreement which
   2      Q.    Right. But that term sheet wasn't                    2 specifically contemplated a warehouse line to a firm
   3 binding; was it?                                                3 called Customers -- Customers Bank.
   4      A.    No.                                                  4         And various portions of the credit
   5      Q.    Okay. So what is your understanding                  5 agreement spoke to the various rights of both
   6 of what happened between March of 2023 and May 15th             6 parties in terms of -- in terms of getting the
   7 of 2023 in the discussions with RCP and AFI?                    7 warehouse line accomplished.
   8      A.    I think there were hard thought                      8     Q. Did you review the side letter that
   9 negotiations between -- between the parties and                 9 was entered into in conjunction with the May 15th,
 10 their counsel, which culminated in the agreements.              10 2023, agreement?
 11       Q.    Okay. And what did you do to                        11    A. Yes.
 12 investigate what happened between March and May 15th            12    Q. Okay. And what is your understanding
 13 when the settlement agreement was issued?                       13 of what that side letter accomplished?
 14       A.    Well, we spoke extensively about this               14     A. Well, AFI was concerned with
 15 topic with Mr. Bowlby. We spoke extensively about               15 staying -- you know, it allowed AFI to propose
 16 this topic with Kasowitz, who actually negotiated               16 certain amendments which would put it in good
 17 the, you know, the term sheet and then the                      17 standing, for example, with the agencies. That was
 18 agreements. And we spoke extensively to RCP and                 18 a concern of theirs.
 19 their counsel about, you know, about the actual                 19            (Discussion off the record.)
 20 negotiations that led to the signing of the                     20            MR. GLENN: I'm sorry, can you read
 21 agreement.                                                      21       back the last answer? Because I was
 22            Again, the e-mails did shed some light               22       distracted by your comment.


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   1             (Record read back.)                             1       Q.    Okay.
   2   BY MR. GLENN:                                             2            MR. GLENN: Now, can we blow up the
   3        Q. Okay. Of AFI's?                                   3       second paragraph a little more so it's easier
   4        A. That was a concern of AFI's.                      4       for everybody to read, please. Yep.
   5        Q. Okay. And did you ask Mr. Bowlby what             5 BY MR. GLENN:
   6   he thought that side letter accomplished relative to      6    Q. Okay. So I've asked the video
   7   a new warehouse line?                                     7 director to blow up the second paragraph, and here
   8        A. The side --                                       8 it is. And the lead-in sentence of this says, "The
   9        Q. The side letter.                                  9 parties to the Credit Agreement hereby agree and
  10        A. The side -- well, the new warehouse              10 acknowledge that following the date hereof, they
  11   line was more contemplated in the second amendment       11 will execute any and all amendments or waivers
  12   and the credit agreement.                                12 applicable to the terms of the Credit Agreement or
  13        Q. Okay. But there was a reference to a             13 other loan documents which were required to be
  14   warehouse line in the side letter, no?                   14 amended or waived to ensure that the Borrower (i)
  15        A. Yeah, if you want to put it up in                15 remains compliant with all Agency requirements
  16   front of me, I can take a look.                          16 applicable to the Borrower, and (ii) has the ability
  17        Q. Sure.                                            17 to enter into warehouse financing documents for
  18        A. I don't remember the specifics. I                18 Borrower's ongoing business operations in a manner
  19   mean, but the specifics were -- that I remember          19 consistent with the budget and the Borrower's
  20   them, you know, the real -- the real reason for the      20 projections [sic]."
  21   side letter was, like I said, they wanted to be able     21            Did I read that correctly?
  22   to make sure they were able to add certain               22       A.    Yes.


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   1   amendments for various reasons, including staying in      1       Q.    Okay. Now, this is subject to certain
   2   good standing with the agencies.                          2 caveats below, and I'd like to direct your attention
   3       Q. Okay.                                              3 underneath that where it says, "Provided further,
   4            MR. GLENN: Let's put the side letter             4 that the Administrative Agent and the Lender shall
   5       up, Malik. I'm not sure how we're going to            5 not be required to execute amendments or waivers
   6       accomplish that under the current state of            6 which, in their reasonable good faith judgment, (x)
   7       affairs.                                              7 prior to the deemed repayment of the Loan pursuant
   8            Okay. We put on the screen what we're            8 to Section 2.19(e) of the Credit Agreement would
   9       going to mark as Exhibit 1. This is a                 9 have a Material Adverse Effect."
  10       May 15, 2023, letter with the RCP entity in          10            Do you see that?
  11       the letterhead.                                      11       A.    Yes.
  12            (Exhibit 1, No Bates numbers, 5/15/23           12       Q.    Okay. Are you aware in the course of
  13       Letter from RCP to AFI, received and marked.)        13 your investigation of any circumstance where RCP
  14            MR. GLENN: And if you could scroll              14 notified AFI that a warehouse line that AFI proposed
  15       down to the next page, please.                       15 would have a material adverse effect as described
  16            And then the next page.                         16 here?
  17            Okay. And then you can go to the top.           17       A.    No, I'm not aware. It doesn't mean it
  18   BY MR. GLENN:                                            18 did or it didn't happen.
  19       Q. Okay. So is this your understanding               19       Q.    Okay. So what did Mr. Bowlby tell you
  20   of what the side letter we've been talking about is,     20 about the negotiations concerning a replacement
  21   Exhibit 1?                                               21 warehouse line in your discussions with him, if
  22       A. I believe so, yep.                                22 anything?


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   1        A. That they needed -- they needed a                 1   Section 6. -- it was in Section 6, maybe 6.04 that
   2   warehouse line to restart the business. It was very       2   specifically mentions that AFI must provide an
   3   important for them to get a warehouse line in order       3   acceptable subordination agreement to RCP for
   4   to have any hope of restarting the business.              4   warehouse lines.
   5        Q. Okay. And what did RCP tell you about             5             There's other provisions, it may be in
   6   their perspective on any new warehouse line that          6   that same section, which effectively disallow any
   7   Mr. Bowlby had secured or proposed?                       7   liens. There were contemplations for -- you know,
   8        A. That they also were anxious to get a              8   the big issue was these MSRs. And in the second
   9   new warehouse line in place because without a new         9   amended credit agreement, there were -- there was
  10   warehouse line there was no hope of restarting the       10   specific language that would allow Customers Bank
  11   business.                                                11   specifically to take liens on those MSRs under
  12        Q. Okay. So what happened -- well,                  12   certain conditions.
  13   strike that.                                             13        Q. And what is the relationship between
  14            Did you investigate what happened with          14   the provisions that you're citing to and the side
  15   respect to the parties' negotiations of a                15   letter?
  16   replacement warehouse line?                              16        A. Well, I mean --
  17        A. Yes.                                             17             MR. MORRIS: Objection to the form of
  18        Q. Okay. What happened?                             18        the question.
  19        A. Well, again, back to the second                  19             THE WITNESS: I don't really
  20   amendment, it specifically mentions a Customers          20        understand the question. Can you be more
  21   Bank. So it's clear that -- it was clear that the        21        specific?
  22   company AFI was in some kind of discussions to           22


                                               Page 82                                                          Page 84
   1   potentially open a new warehouse line -- open a new       1 BY MR. GLENN:
   2   warehouse line with Customers Bank.                       2    Q. Sure.
   3             And Mr. Bowlby explained that they              3          So do you have any understanding of
   4   were trying to do that, and they were negotiating         4 the interplay between the credit agreement
   5   various provisions for multiple weeks with Customers      5 provisions that you are citing to in the side
   6   Bank. At the end of the day, the warehouse line was       6 letter?
   7   not provided for various reasons.                         7      A. The side letter allowed -- the side
   8        Q. What were those reasons?                          8 letter allowed AFI to propose certain amendments and
   9        A. RCP who had the discretion to accept              9 waivers to the credit agreement, specifically, as
  10   certain terms of the warehouse line, there were          10 you can see here, to remain compliant with agency
  11   negotiations between -- between the parties, and         11 requirements and to enter into -- enter into
  12   Customers Bank did not accept the conditions that        12 warehouse financing.
  13   were acceptable to RCP and that were specifically        13        So it was Mr. Bowlby's reasoning,
  14   contemplated in the -- in various parts of the           14 maybe, perhaps that the side letter is saying that
  15   credit agreement, specifically regarding                 15 within reason he's allowed to suggest certain --
  16   subordination agreement between any potential            16 certain amendments such that they can -- they could
  17   warehouse lender and RCP.                                17 get the warehouse financing that they needed to
  18        Q. Can you identify the provisions of the           18 restart the company.
  19   credit agreement that provided the discretion that       19      Q. Isn't it fair to say that the side
  20   you just referred to and consent rights over             20 letter overrides the credit agreement if the terms
  21   subordination?                                           21 and conditions in the side letter are satisfied?
  22        A. Yeah, I think -- I think it was                  22           MR. MORRIS: Objection to the form of


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   1        the question.                                       1 any evidence that RCP declared a material adverse
   2             THE WITNESS: Well, you're skipping a           2 effect in response to Mr. Bowlby's proposal for a
   3        very important part of the side letter, which       3 replacement warehouse line; right?
   4        is the definition of "material adverse              4     A. Specifically, I did not see that
   5        effect."                                            5 language. However, I will say that I also did not
   6   BY MR. GLENN:                                            6 see any formal, as far as I can remember -- I mean,
   7        Q. No, I'm not. I'm asking you -- I'm               7 you know, there had to be formal requests to amend.
   8   asking you --                                            8 So, you know, I think it works both ways.
   9             (Cross talk.)                                  9             In either case, if you're asking me
  10   BY MR. GLENN:                                           10   did I specifically hear them say that the material
  11        Q. -- the side letter overrides the                11   adverse effect was the reason, no, but they made it
  12   credit agreement if the terms and conditions of the     12   quite clear that -- that the conditions of the
  13   side letter are satisfied; correct?                     13   Customers warehouse line were going to impede
  14        A. I don't think it's -- I don't know              14   advisability to perform under the credit agreement
  15   that the word is "override." There are -- the side      15   and was going to impede them pursuing their rights
  16   letter does allow for certain -- for certain            16   under that same credit agreement.
  17   amendments and waivers under certain conditions for     17             So whether they used the words
  18   those specific reasons.                                 18   "material adverse effect" or not, they specifically
  19             However, the definition in this case          19   said they did believe that it would impede the
  20   of "material adverse effect" are incredibly             20   ability of them to specifically, you know, with
  21   important. Because it's an extremely wide               21   their rights in terms of -- in terms of both the
  22   definition that effectively would allow, in my          22   second amended credit agreement, where it's laid out


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   1 opinion, RCP to negate that if there was any               1   very specifically in Section 6.04 of the amended
   2 material impairment of AFI -- I think the language         2   credit agreement.
   3 was, you know, material impairment of AFI to perform       3        Q. Can you identify any documents
   4 under the credit agreement or that any rights RCP          4   specifically that reflect the testimony that you
   5 had under that credit agreement. So I don't see how        5   just gave?
   6 they would get around that language.                       6        A. I'm telling you what they expressed to
   7     Q. You already testified that in your                  7   me.
   8 investigation, you found no evidence of RCP ever           8        Q. Okay. Thank you.
   9 declaring that the warehouse line would have a             9            MR. GLENN: We can take that down.
  10 material adverse effect; correct?                         10   BY MR. GLENN:
  11    A. I said I don't know. I don't know --                11        Q. Are you familiar -- and I might
  12       Q. You don't know?                                  12   mispronounce this -- to a warehouse lender called
  13       A. I don't know the conversations that              13   Centier or Centier?
  14   they had within -- within those -- within the           14        A. Centier, yes.
  15   context of those talks. I didn't -- I don't recall      15        Q. Centier. Okay.
  16   seeing them specifically saying that. That doesn't      16            And did you review that as part of
  17   mean that they didn't say it. I wasn't there.           17   your investigation?
  18      Q. Right. So nothing in your                         18        A. Yes.
  19 investigation has revealed any evidence that RCP, in      19        Q. Okay. And what did you learn in the
  20 fact, did declare that Mr. Bowlby's prepared              20   course of your investigation about the Centier
  21 warehouse -- strike that.                                 21   warehouse line discussions?
  22        Nothing in your investigation revealed             22        A. Talks broke down with Customers at the


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   1 end of June. I don't remember the exact date, late              1   than the Customers line.
   2 June. And then within a day or two, AFI was able to             2            I don't recall -- I don't think I --
   3 secure a warehouse line from Centier.                           3   you know, I don't recall the specifics of why he
   4     Q. How did the terms and conditions of                      4   thought that, but in his mind -- although, to be
   5 the Centier warehouse line compare to those with the            5   quite honest, he didn't articulate it, you know,
   6 other warehouse line that you testified to?                     6   that specifically, he felt that the Centier line,
   7      A. Well, the most important -- the most                    7   while in the best -- better interest of RCP, was not
   8 important aspects from RCP's perspective, as they               8   necessarily in the better interest of AFI.
   9 laid out, was that it did not require a lien on the             9        Q. Do you have any documents in front of
 10 MSRs.                                                           10   you right now?
 11        They also did not require -- you know,                   11        A. No.
 12 RCP had requested from Customers that they look to              12        Q. Do you have any electronic devices in
 13 their own collateral in terms of noncompliance first            13   front of you right now?
 14 and then to the MSRs, which Customers would not                 14        A. No.
 15 agree to, and that was specifically laid out in the             15        Q. Okay. Is anybody else in the room
 16 second amendment. That was not a condition of the               16   with you right now?
 17 Centier line.                                                   17        A. Nope.
 18          The Centier line required less                         18        Q. Okay. All right.
 19 collateral. I believe it was 1 million versus                   19            So did the company close the Centier
 20 2 million. The Centier line was also larger. I                  20   warehouse line?
 21 think it was 50 million versus 20 or 25 million from            21        A. They did.
 22 Customers.                                                      22        Q. Okay. And did the company ever use

                                                        Page 90                                                  Page 92
  1       Q.    Why did you relate to me immediately                 1   the Centier credit line?
  2 after I asked that question RCP's reaction to that               2         A. I think they started to, if I remember
  3 credit line?                                                     3   correctly, but not in any large capacity.
  4       A.    I don't understand the question.                     4         Q. And do you know why that's the case?
  5       Q.    I asked you what the differences were                5         A. No, I just think conditions were --
  6 between that warehouse line and the prior warehouse              6   still in the market were not great.
  7 line and you immediately gave me RCP's reaction to               7         Q. Okay. Does the company have any
  8 that and you haven't really described what                       8   employees right now?
  9 Mr. Bowlby's reaction to that is.                                9         A. Yes.
 10            And I'm just wondering, you know, are                10         Q. How many employees does the company
 11 you more concerned RCP's reaction to these warehouse            11   have right now?
 12 lines than AFI, the company that you are                        12         A. A handful. I don't know the exact
 13 representing as a director?                                     13   number. That's more a question for Mr. Avila.
 14       A.    No.                                                 14         Q. Okay. Were any of those individuals
 15       Q.    Okay. So what was Mr. Bowlby's view                 15   involved in any of the discussions with RCP?
 16 of the difference between the two credit lines?                 16              MR. MORRIS: Objection to the --
 17       A.    Mr. Bowlby -- and I'm not going to                  17              THE WITNESS: I'm sorry, could you --
 18 remember the exact specifics, but he believed that              18              MR. MORRIS: -- form of the question.
 19 it was going to be long term. I believe he thought              19              THE WITNESS: Could you repeat the
 20 it was going to be more expensive somehow to use the            20         question?
 21 Centier line than the -- I'm sorry -- yeah, the                 21   BY MR. GLENN:
 22 Centier line than the, I'm sorry the Centier line               22         Q. Do you know whether any of those


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   1 individuals -- do you know if any of the individuals         1      A.    Yes.
   2 that are -- that have been employed by the company           2      Q.    Did you do any investigation to
   3 since you became independent director through today          3 validate or refute Mr. Bowlby's view?
   4 historically had any role with RCP?                          4      A.    No.
   5           MR. MORRIS: Objection to the form of               5      Q.    Okay. Did you go out and talk to any
   6      the question.                                           6 warehouse lender representative or brokers or anyone
   7           THE WITNESS: I'm sorry, one more                   7 to investigate whether that view was correct or not?
   8      time. I'm not understanding.                            8      A.    No. I didn't have any reason to
   9 BY MR. GLENN:                                                9 dispute the view.
 10       Q.    Okay. So there are employees at AFI             10       Q.    Okay. And did you ask RCP whether it
 11 right now; right?                                           11 understood at any point in time that the actions
 12       A.    Yes.                                            12 that it took might have impaired AFI's ability to
 13       Q.    Okay. And there have been employees             13 get a warehouse line based on the perception of
 14 at AFI since you became independent director?               14 existing warehouse lender to AFI and prospective
 15       A.    Yes.                                            15 lenders to AFI?
 16       Q.    Do you know what titles those folks             16       A.    I don't remember if I asked them
 17 have?                                                       17 specifically that question. But, again, I accept
 18       A.    I don't know the titles.                        18 that -- I accept the premise. I mean, I'm sure, you
 19       Q.    Okay. Do you know what roles they               19 know, a default is -- you know, it obviously -- you
 20 have?                                                       20 know, the warehouse lenders shut off financing. So
 21       A.    Yeah, they're helping in the wind-down          21 there was no reason to investigate it. I accept it.
 22 of the business in various capacities.                      22       Q.    Okay. Now, did you ask RCP about how


                                                   Page 94                                                         Page 96
   1      Q.    Okay. Do you know --                              1 Customers -- strike that.
   2      A.    Some of them are helping service the              2           Did you ask RCP if Customers expressed
   3 MSRs, for example.                                           3 reservations or concerns about RCP's conduct in
   4      Q.    Okay. And do you know if any of those             4 connection with the December 2022 notice of default?
   5 people had any historical roles in the negotiation           5      A.    No.
   6 of the relationship with RCP?                                6      Q.    Did you ask Mr. Bowlby his
   7      A.    I don't know the answer to that.                  7 understanding of how Customers viewed RCP's
   8      Q.    Do you know if any of those                       8 historical conduct in the negotiations of that
   9 individuals had any historical roles in the                  9 agreement?
 10 company's warehouse lines?                                  10       A.    I don't remember if we discussed that
 11            MR. MORRIS: Objection to the form of             11 specifically or not.
 12       the question.                                         12       Q.    Have you tracked the hours you've
 13            THE WITNESS: In the negotiation -- I             13 spent on this investigation?
 14       don't know the answer.                                14       A.    Not -- not specifically.
 15 BY MR. GLENN:                                               15       Q.    How are you compensated as an
 16       Q.    Okay. I want to go back to the                  16 independent director of AFI?
 17 December notice of default by RCP.                          17       A.    Monthly.
 18            Are you aware that Mr. Bowlby contends           18       Q.    What is your monthly payment?
 19 that by delivering the notice of default and the            19       A.    15,000.
 20 actions that RCP took surrounding that tainted AFI's        20       Q.    Do you have any other compensation
 21 relationship with its existing warehouse lenders and        21 that you're offered beyond that monthly payment?
 22 the warehouse lender market generally?                      22       A.    No.


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   1      Q. Okay. How were you introduced to this              1      A.    The first discussion was very brief.
   2   opportunity?                                             2 I don't know, 20 minutes. The Zoom call -- I had a
   3           MR. MORRIS: Objection to the form of             3 Zoom call that they set up. That was probably 30 or
   4      the question.                                         4 45 minutes. And then once they -- once I was asked
   5           THE WITNESS: I was --                            5 to formally take on the role, I had another
   6   BY MR. GLENN:                                            6 conversation which lasted probably about an hour.
   7        Q. To be an independent director of AFI.            7     Q. And then you became -- then you agreed
   8        A. I received a call from a contact at              8 to the role?
   9   Kirkland & Ellis who I had worked with before            9      A. Yes.
  10   mentioning that they had been reached out to for a      10     Q. And you became an independent
  11   recommendation for independent directors. He put me     11 director, I believe, the day before or the day of
  12   in touch with -- with -- with Reverence, and that's     12 the Chapter 11 filing?
  13   how -- that's how it started.                           13      A.    No, I became independent the day of.
  14       Q. Okay. And is that Chris Greco of                 14      Q.    The day of. Okay.
  15   Kirkland?                                               15        When did you first see the company's
  16       A. Chris Greco put me in touch with                 16 proposed DIP financing arrangements?
  17   another colleague of his, who then put me in touch      17    A. After -- probably in the next week.
  18   with RCP.                                               18     Q. Okay. And between the time you became
  19     Q. Okay. And who at RCP did you                       19 independent director and the time you saw the first
  20 communicate with about becoming independent               20 DIP financing, had you done any investigation of the
  21 director?                                                 21 historical relationship between RCP and AFI?
  22     A. I think the first contact I had was                22     A. Nothing other than the conversations.


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   1   Steven Herrup.                                           1       Q. And so when you agreed to the DIP
   2        Q. Okay. And what was discussed in the              2   financing, you hadn't done any meaningful factual
   3   context of that conversation?                            3   investigation of any claims involving or against
   4        A. He just gave me very brief background            4   RCP?
   5   information as to what was going on, and then they       5       A. No.
   6   set up a call for me to meet other people, also, I       6            MR. MORRIS: Objection to the form of
   7   think. I don't remember if it was the same day or        7       the question.
   8   the next day, but I spoke with him, and then we set      8   BY MR. GLENN:
   9   up a call with other members of the team.                9       Q. Okay. And the first DIP that you saw
  10        Q. How long was that before the                    10   included the waiver of claims by the debtor with a
  11   Chapter 11 filing?                                      11   challenge period; correct?
  12        A. Not long. Days.                                 12       A. With the waiver -- no. What do you
  13        Q. And how many days was it,                       13   mean with the waiver of -- no. The waiver of the
  14   approximately?                                          14   challenge period was in the final DIP order.
  15        A. I don't remember. Days. It was days.            15       Q. No. No, no. The waiver of claims by
  16   Probably less than a week.                              16   AFI and the ability -- not the waiver, the ability,
  17        Q. Okay. And how many discussions did              17   the grant of the UCC to try to get standing within
  18   you have?                                               18   some period of time, that was --
  19        A. I don't remember specifically. A                19       A. Yes.
  20   handful.                                                20       Q. -- in the first --
  21        Q. Okay. How long did those discussions            21       A. That was in the first --
  22   take?                                                   22       Q. Okay.


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   1        A. That was in the first reiteration.               1 converted to Chapter 7?
   2   The waiving of the challenge period was in the           2         MR. MORRIS: Objection to the form of
   3   final.                                                   3      the question.
   4        Q. Okay. And so when -- strike that.                4           THE WITNESS: It's our belief, the
   5              Who told you that you needed to               5      board's belief, that the most efficient way
   6   perform an investigation after that?                     6      to get this case out of -- and the least
   7              MR. MORRIS: Objection to the form of          7      extensive way to get this case out of -- out
   8        the question.                                       8      of the proceedings are to do it the way we're
   9              THE WITNESS: Nobody told me. I mean,          9      doing it, and we believe that a Chapter 7
  10        it's -- it's obvious that we need to do an         10      would entail significant increased costs and
  11        investigation if we were going to be asking        11      inefficiencies.
  12        for waivers, especially when we were asking        12   BY MR. GLENN:
  13        for the challenge period to be -- you know,        13     Q. What are the costs that you've
  14        to be waived.                                      14 considered of a Chapter 11 case versus a Chapter 7
  15   BY MR. GLENN:                                           15 case?
  16        Q. Okay. So it was important to you,               16       A.    Chapter 7 -- it's unknowable.
  17   once the proposal was made, to give a final release     17            MR. MORRIS: Objection to the extent
  18   as a condition of the final DIP to perform this         18       it reveals attorney-client communications.
  19   investigation?                                          19            THE WITNESS: The costs of a Chapter 7
  20        A. If we were going to waive the                   20       cases are not knowable. There'll be a
  21   challenge period, we needed to have the                 21       trustee. They can burn through, you know --
  22   investigation conducted before it went in front of      22       they can burn through all the cash that's


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   1   the judge.                                               1        left, just don't know. And, again, we
   2        Q. Okay. Was it important to you to                 2        believe that this allows us as a board to
   3   conduct that investigation before you agreed to the      3        control process in the most efficient manner.
   4   release?                                                 4   BY MR. GLENN:
   5        A. Yes.                                             5        Q. Right.
   6        Q. Okay. Thank you.                                 6              And how do you know that the
   7            Now, have you considered converting             7   Chapter 11 process is going to be the most
   8   this case to Chapter 7 liquidation?                      8   efficient?
   9            MR. MORRIS: Objection. Direct the               9              MR. MORRIS: Objection to the form of
  10        witness not to answer to the extent that it        10        the question.
  11        implicates the attorney-client privilege.          11              THE WITNESS: We don't know. It's
  12            THE WITNESS: Yeah, I mean, we -- as a          12        just our -- it's our determination.
  13        board, we don't -- we don't know.                  13   BY MR. GLENN:
  14   BY MR. GLENN:                                           14        Q. And you said, you know, you want the
  15        Q. No, I'm asking you a different                  15   board to control the outcome of the case.
  16   question.                                               16        A. We want --
  17            Have you considered Chapter 7 as an            17        Q. Is that what your testimony --
  18   alternative path in this Chapter 11 case?               18        A. No, my testimony is we -- the board
  19            MR. MORRIS: Same instruction.                  19   believes that -- that a Chapter 11 -- we've spent a
  20            THE WITNESS: Everything's considered.          20   lot of time and effort into understanding, you know,
  21   BY MR. GLENN:                                           21   the various pieces here. A trustee would have to
  22        Q. Okay. Why shouldn't these cases be              22   come and be reeducated and there's a lot of moving


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   1 parts and it's the board's determination that right         1   know, if they are granted those. But in terms of,
   2 now we still believe that this is the best path.            2   you know, the math and in terms of what they are
   3 That could change. That could definitely change.            3   owed, they're going to get -- their best -- in my
   4     Q. And how could it change?                             4   opinion, their best hope for recovery would be
   5     A. There might come a point where the                   5   through a negotiated settlement, which would take
   6 upside/downside of doing it the way we are is not           6   place in a Chapter -- Chapter 11.
   7 worth it anymore, and at that point we may have to          7       Q. From a business perspective, what
   8 consider a Chapter 7.                                       8   operations need to be ongoing -- strike that.
   9     Q. Okay. If the unsecured creditors in                  9             Are there any business operations that
  10 this case wanted you to convert the case to                10   are going to be rehabilitated or continuing under
  11 Chapter 7, would you take that into consideration?         11   your Chapter 11 plan?
  12      A.    I would definitely listen to them and           12             MR. MORRIS: Objection to the form of
  13 hear their viewpoint.                                      13       the question.
  14     Q. Okay. Other than the cost                           14             THE WITNESS: No.
  15 efficiencies that you've testified to, what other          15   BY MR. GLENN:
  16 considerations do you believe make Chapter 11 more         16       Q. Okay. And so your Chapter 11 plan
  17 appropriate than a Chapter 7?                              17   really is a liquidation. It's just not a Chapter 7
  18        MR. MORRIS: Objection to the form of                18   liquidation; correct?
  19      the question. And direct the witness not to           19       A. Well, we're still working on the
  20      answer to the extent it reveals any                   20   details. There are still some ongoing operations,
  21      attorney-client communications.                       21   you know, specifically servicing of the MSRs, for
  22           THE WITNESS: I think it's the same               22   example.


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   1        answer. A Chapter 7 -- I've been through             1          And the other consideration which I
   2        Chapter 7s, and there's a lot of variables           2 didn't mention is, you know, we're very -- we are
   3        that are unknowable. And, you know, we'd             3 very worried about in a Chapter 7 what the agencies
   4        prefer to avoid it, but it's possible we may         4 will do with these -- you know, I mean, we are
   5        have to go down that path at some point.             5 getting some money in the door with the MSRs, but if
   6   BY MR. GLENN:                                             6 we go into a Chapter 7, the agencies might strip the
   7        Q. Have you considered how RCP benefits              7 company's rights -- servicing rights, which could
   8   if we proceed under a Chapter 11 plan?                    8 devalue whatever's left.
   9        A. My concern is not how RCP does or does            9         So that's the other -- that's the
  10   not benefit.                                             10 other -- that's the other benefit to everyone. We
  11        Q. Okay. How do the general unsecured               11 don't know what's going to happen in a Chapter 7
  12   creditors benefit if we proceed with a Chapter 11        12 with the agencies and the MSRs.
  13   plan versus a Chapter 7 liquidation?                     13     Q. Right. And when are the MSRs supposed
  14        A. Well, from a strictly mathematical               14 to be completed?
  15   point of view, there's very little to no recovery        15     A. It's still in process.
  16   for the unsecured creditors. That's just basic           16            MR. MORRIS: Objection to the form of
  17   math. So I do believe that the best way to maximize      17       the question.
  18   value for the entire estate is still -- is still the     18 BY MR. GLENN:
  19   Chapter 11.                                              19       Q. Did you understand my question, sir?
  20             In terms of the unsecured,                     20       A. Yeah, it's still in process. It's
  21   specifically, again, they're entitled to probably no     21 still in process. It's going to take months to get
  22   recovery, other than their causes of action, you         22 the final payments in.


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   1      Q.    So can you project? Is it                        1 are allowing for the committee to -- you know, for
   2 nine months? Is it two months. Give me any clarity          2 the judge to make his decision on standing, and
   3 or range for that?                                          3 that's not a condition of the financing, but he has
   4     A. Again, it's a better question for                    4 produced -- has given us financing to get us to this
   5 Mr. Avila, but it could be -- it could be                   5 point, and I think a release as part of -- as part
   6 significant amount of time. It could be months. It          6 of that is perfectly acceptable.
   7 depends.                                                    7     Q. Okay. But as we sit here today
   8         MR. GLENN: So let's go off the record               8 looking forward, what is the downside to the
   9      for a second.                                          9 bankruptcy estate if RCP is not given a release?
  10           THE VIDEOGRAPHER: Okay. Going off               10      A. There's less downside than there was
  11      the record the time is 12:17.                        11 before. Now, I don't know the specific downside at
  12           (Recess from the record.)                       12 this point.
  13           THE VIDEOGRAPHER: We are back on the            13     Q. Can you identify any downside at all,
  14      record. The time is 12:33.                           14 general, specific, or otherwise, if RCP is not given
  15 BY MR. GLENN:                                             15 a release today?
  16    Q. Sir, you have been testifying about                 16     A. It depends on if we need further use
  17 the relative costs and benefits of a Chapter 7            17 of cash, but that's unlikely.
  18 versus a Chapter 11.                                      18     Q. Okay. So the only downside would be
  19         How much administrative expense is                19 if we need their DIP going forward, and if we don't
  20 this Chapter 11 case going to cost?                       20 give them the release, we wouldn't have access to
  21         MR. MORRIS: Objection to the form of              21 that DIP; correct? That's the downside?
  22      the question.                                        22     A. If we need further DIP going forward.


                                                Page 110                                                       Page 112
   1            THE WITNESS: I don't have the exact              1     Q. Okay. Okay. So let's talk about
   2        number.                                              2 that.
   3   BY MR. GLENN:                                             3         Are you familiar with the company's
   4        Q. Okay. Do you have an approximate                  4 cash flow budget?
   5   number?                                                   5      A.    Yes.
   6        A. No, I don't have an approximate                   6      Q.    Okay.
   7   number, but I will say that the bulk of it is             7          MR. GLENN: Malik, can you put on the
   8   already spent.                                            8      most recent cash flow report for Paladin,
   9        Q. Okay. How much more needs to be                   9      please.
  10   spent?                                                  10           MS. DOSS: Yes, just a moment.
  11            MR. MORRIS: Objection --                       11           Billy, can please you confirm that you
  12            THE WITNESS: I don't know.                     12       received -- oh, okay. There we go.
  13            MR. MORRIS: -- to the form of the              13           (Exhibit 2, No Bates numbers, Weekly
  14        question.                                          14       Cash Budget, received and marked.)
  15            THE WITNESS: Depends if we keep                15    BY MR. GLENN:
  16        funding.                                           16        Q. Okay. So we put on the screen what
  17   BY MR. GLENN:                                           17    we're going to mark as Exhibit 2. This is a
  18        Q. Okay. At this point in time, what               18    document bearing the -- bearing the legend
  19   negative effects, if any, will be suffered by AFI,      19    "AmeriFirst Financial, LLC, Weekly Cash Budget -
  20   if RCP is not given a release?                          20    3 Weeks Ending December 22, 2023."
  21        A. Well, I don't think it's -- listen,             21            MR. GLENN: Videographer, helper
  22   given -- we're not -- I think the latest documents      22        person, is this only one page, or are there


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                                              Page 113                                                               Page 115
   1        multiple pages?                                      1        Q.     Okay. But you have --
   2            THE VIDEOGRAPHER: This is one page.              2       A.    But we also have --
   3            MR. GLENN: Okay.                                 3        Q.     -- put in some time --
   4   BY MR. GLENN:                                             4       A.    We also have -- I mean, we also -- you
   5        Q. So do you recognize this document,                5 know, this is cash collateral; right? So, you know,
   6   sir?                                                      6 it's not -- it's not just money sitting there. It's
   7        A. Yes.                                              7 not -- it's pledged.
   8        Q. Okay. And is this the cash flow                   8        Q.     Okay. I'm going to ask you a very
   9   projections that are prepared by Paladin for AFI?         9 specific question.
  10        A. Yes.                                             10             Do you have any identified time frame
  11        Q. Okay. And there's a line here with               11 where you're going, necessarily, to draw on the DIP?
  12   the word "DIP Draw/(Paydown)."                           12       A.    We don't -- eventually, probably, but
  13            Do you see that?                                13 we don't know yet. It depends on all the costs. I
  14        A. What's the line?                                 14 can't tell you when. But, again, it's not just the
  15        Q. It's right above "Estimated, Available           15 DIP -- I mean, it's not just -- it's also cash
  16   Ending Cash" towards the bottom.                         16 collateral.
  17        A. Uh-huh.                                          17        Q.     Right.
  18        Q. And then right above that, it says,              18             Okay. So have you done any analysis
  19   "DIP Draw/(Paydown)."                                    19 about when the company may need a DIP draw beyond
  20        A. Right. Yes.                                      20 now?
  21        Q. Okay? And it shows no DIP draw for               21       A.    I mean, that's more Scott Avila's
  22   the remainder of this period; correct?                   22 territory, you know, and it's hypothetical and


                                              Page 114                                                               Page 116
   1         A. Yes.                                             1 depends on -- on legal fees.
   2         Q. Okay. And it shows estimated                     2        Q.     Do you think it's appropriate to give
   3   available cash, 5,169,000.                                3 RCP a release now based on a hypothetical need for a
   4              And then it says 4,000,743 [sic].              4 DIP?
   5              Then it says 4,583,000, and it's the           5             MR. MORRIS: Objection to the form of
   6   ending cash amount; correct?                              6        the question.
   7         A. Yes.                                             7             THE WITNESS: I think it's appropriate
   8         Q. Okay. Do you have any budgets beyond             8        to give them a release.
   9   this?                                                     9 BY MR. GLENN:
  10         A. I don't remember if we put out a                10        Q.     Based on what?
  11   further budget or not at this point.                     11        A.     Based on the fact that they provided
  12         Q. But as we sit here today, it's your             12 us with the financing that we needed to wind down
  13   testimony that there's no projected need for a DIP,      13 this estate in the most efficient basis for the
  14   as we sit here today?                                    14 benefit of everybody, for all stakeholders, and the
  15         A. No. I mean, we still have to pay --             15 fact that we did an investigation and found no
  16   we still have to pay, you know, for work that's been     16 reason not -- to cause not to provide them with the
  17   done to this point. This is -- you know, there's         17 release.
  18   still -- there's still significant fees that have to     18        Q.     Okay. But is it also your testimony
  19   be paid, administrative fees, I mean, all sorts of       19 that they did not seek a complete release until
  20   things that this is not showing.                         20 after the DIP draws had been concluded?
  21              For this period of time, we don't need        21        A.     I don't understand the question.
  22   the DIP.                                                 22 Well, they're asking for --


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                                                      Page 117                                                        Page 119
   1       Q.    When was the last -- when was the last             1 you is: How did that number get determined?
   2 draw on the DIP?                                               2         MR. MORRIS: Objection to the form of
   3    A. I don't know. I'd have to look.                          3        the question.
   4    Q. Do you have a general recollection of                    4             Direct you not to answer to the extent
   5 when the last DIP draw was?                                    5        it reveals attorney-client communications.
   6    A. Several weeks ago. A few weeks ago.                      6        But, otherwise, feel free to answer.
   7 I don't know. I'd have to look.                                7             THE WITNESS: I think it's -- it's a
   8     Q. Okay. And do you know whether that                      8        number that we felt comfortable would give
   9 DIP draw occurred before or after the demand for a             9        the committee -- give the unsecureds, you
  10 release in the final DIP order?                               10        know, some recovery. It's not an exact
  11       A.    Again, it's not -- it's not just a                11        science.
  12 question of the cash flows. It's also the cash                12   BY MR. GLENN:
  13 collateral. So, I mean, you can't just ignore that.           13        Q. Okay. When you say "we," do you mean
  14       Q.    I'd like an answer to my question.                14   you and Mr. Avila?
  15 It's a chronological question, sir.                           15        A. Well, it's part the board and part --
  16          Did they ask for a release after or                  16   yeah, I mean, we discuss it. I mean, he's -- you
  17 before the last DIP draw that the company took?               17   know, he's in charge of those aspects, but we're
  18     A. I don't -- I don't -- I don't                          18   overseeing it. So we do discuss it.
  19 remember.                                                     19        Q. Was that number negotiated with RCP?
  20        MR. GLENN: Okay. We can take this                      20        A. Not that I'm aware, but I don't -- not
  21       exhibit down.                                           21   that I'm aware. That wouldn't be a question for me.
  22                                                               22        Q. Who is that a question for?


                                                      Page 118                                                        Page 120
   1   BY MR. GLENN:                                                1      A.    Scott.
   2        Q. So right now the company -- strike                   2      Q.    Okay. So as you sit here today,
   3   that.                                                        3 you're not aware of any negotiations that led to
   4            Right now the plan has a $250,000 fund              4 that 250,000 number being included in the plan?
   5   for general unsecured creditors; correct?                    5      A.    I don't -- I don't know -- I don't
   6             MR. MORRIS: If you know.                           6 know, in fact, where those -- whether there was
   7             Are you on mute, Jeff?                             7 discussions at all with them or not.
   8   BY MR. GLENN:                                                8      Q.    So as far as you know, that number
   9        Q. If you know.                                         9 might have just been dictated to the company by RCP
  10        A. No. Yes. I said yes.                                10 without any negotiations?
  11        Q. Oh, I'm sorry. No one heard you.                    11      A.    No, I have no reason to believe that.
  12            Okay. So do you know how that                      12      Q.    Okay. But, on the other hand, you
  13   $250,000 number was determined?                             13 have no reason to know about what negotiations
  14        A. No, I mean, it's -- look, again,                    14 actually occurred?
  15   mathematically the unsecureds are unlikely to               15           MR. MORRIS: Objection to the form of
  16   receive any recovery. So -- but in the interest of          16      the question, assumes a fact not in evidence.
  17   trying to get a consensual deal, we're trying to --         17           THE WITNESS: Well, I mean, Scott is
  18   you know, trying to incentivize all parties and to          18      having discussions with Dundon and
  19   give everyone -- you know, to give everyone a stake         19      representatives from the committee. So, I
  20   even if they're not theoretically entitled to it on         20      mean, part of it -- I don't know why you
  21   a waterfall basis.                                          21      think it's RCP. I mean, there's discussions
  22        Q. Okay. The question I'm going to ask                 22      going on with representatives of the


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   1        committee and Scott, and there's been --            1 elaboration on the disputed assets and the
   2        there's also been mediation sessions and all        2 unencumbered collateral?
   3        sorts of things.                                    3       A.    The vast majority of assets are --
   4   BY MR. GLENN:                                            4 are -- have liens on them.
   5        Q. But you're not a party to those                  5       Q.    Okay. I'm asking you, you know, to
   6   discussions; are you?                                    6 describe for me as an independent director of AFI,
   7        A. Not a direct party, no.                          7 even in general terms, what assets do you understand
   8        Q. Okay. So have you considered paying              8 are unencumbered today?
   9   off the DIP balance as it now exists today with the      9       A.    But you -- through your -- through the
  10   company's available cash?                               10 committee's filings I've seen -- they believe that
  11             MR. MORRIS: Objection to the form of          11 there's certain cash that's in dispute as to whether
  12        the question.                                      12 it was -- whether it was in a DACA account or
  13             Direct the witness not to answer to           13 whether it was encumbered or not, for example.
  14        the extent it would reveal attorney-client         14       Q.    And do you know how much money is
  15        communications.                                    15 sitting in those accounts today?
  16             THE WITNESS: No, I don't think that's         16       A.    I don't know how much is siting in the
  17        feasible.                                          17 accounts today. I know that at the time of the
  18   BY MR. GLENN:                                           18 filing, the committee believes -- or I'm sorry, I
  19        Q. Okay. Why not?                                  19 don't think it was the committee.
  20        A. Because we're just not sure of our              20            The understanding was that it was a
  21   cash needs. We're not going to be sending cash out      21 few hundred thousand dollars.
  22   the door. And, again, there's cash collateral           22       Q.    So as you sit here today, do you


                                             Page 122                                                              Page 124
   1   issues. I mean, we're not just going to get rid of       1 believe that the amount in those accounts is
   2   the DIP if -- you know, it just doesn't make sense.      2 approximately $300,000?
   3        Q. Okay. Are you familiar with the term             3           MR. MORRIS: Objection to the form of
   4   "unencumbered assets"?                                   4      the question.
   5        A. Yes.                                             5           THE WITNESS: I don't know the exact
   6        Q. Okay. As you sit here today, are you             6      number. Three, $400,000. I don't know. And
   7   aware of whether AFI has any assets that are not         7      I don't -- I also don't -- don't -- I'm not
   8   subject to GCP's lien?                                   8      saying that those are unencumbered. I'm
   9             MR. MORRIS: Objection to the form of           9      saying that's what the certain parties
  10        the question to the extent it calls for a          10      believe.
  11        legal conclusion.                                  11   BY MR. GLENN:
  12             THE WITNESS: Yeah, I think there's            12     Q. Okay. So do you have an opinion about
  13        some assets that are in dispute. There may         13 whether the accounts that the committee claims are
  14        be some small amount of uncovered assets.          14 not subject to DACAs whether or not they are
  15   BY MR. GLENN:                                           15 encumbered by RCP's liens?
  16        Q. Can you describe those assets and               16          MR. MORRIS: Objection to the form of
  17   their values?                                           17     the question to the extent it calls for a
  18        A. No, I mean, it's not -- I don't know            18       legal conclusion and to the extent --
  19   the exact amounts, or if there are -- you know, if      19            THE WITNESS: Yeah, I think it's --
  20   there are, it's very small. And, again, there           20            (Cross talk.)
  21   are -- there are some, obviously, disputed assets.      21            MR. MORRIS: -- it reveals
  22        Q. Okay. But can you give me any further           22       attorney-client privileged communications.


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   1            THE WITNESS: I think it's unclear,             1          THE WITNESS: I believe it's not
   2      but it's a very small amount, and the fact is        2     encumbered.
   3      that RCP does make up a majority of the              3 BY MR. GLENN:
   4      unsecured claim pool.                                4     Q. Okay. What about scratch and dents?
   5            So the answer is it's possible, and            5 Are you familiar with that term?
   6      it's possible they're not. You know, there's         6     A. Yes.
   7      going to have to be the legal conclusions            7     Q. Are those encumbered or unencumbered
   8      drawn about that small amount of assets. I'm         8 assets?
   9      just not going to be able to give you an             9          MR. MORRIS: Objection to the form of
  10      answer.                                             10     the question.
  11 BY MR. GLENN:                                            11          THE WITNESS: I believe it is
  12     Q. Well, that's more than the entire                 12     encumbered.
  13 distribution to the unsecured creditors, is it not?      13 BY MR. GLENN:
  14            (Cross talk.)                                 14     Q. Okay. So are there any other assets
  15            MR. MORRIS: Objection to the form of          15 that you can identify other than those accounts that
  16      the question.                                       16 are not subject to DACAs that you believe might be
  17            THE WITNESS: Yes, if it's -- if it's          17 unencumbered?
  18      determined that they are -- if it's                 18          MR. MORRIS: Objection to the form of
  19      determined that they are unencumbered.              19     the question, mischaracterizes the testimony.
  20 BY MR. GLENN:                                            20          THE WITNESS: Not off the top of my
  21     Q. Okay.                                             21     head.
  22      A. And if they're determined --                     22


                                            Page 126                                                         Page 128
   1        Q. What other assets -- I'm sorry. I'm             1 BY MR. GLENN:
   2   sorry, continue.                                        2      Q.    Okay. For those non-DACA accounts,
   3        A. If they're determined they're                   3 have you reviewed the flow of funds in and out of
   4   unencumbered, then things will change. That's a         4 those accounts since May 15th of 2023?
   5   legal conclusion that has to be determined.             5      A.    The non-DACA accounts, no, I did not.
   6        Q. Okay. Fair enough.                              6      Q.    Okay. Do you know if any of those
   7            And are you aware of any other                 7 accounts were ever used to pay any of the RCP debt?
   8   unencumbered assets as you sit here today -- or         8      A.    My understanding is that all the money
   9   alleged unencumbered assets?                            9 that was made paid for the RCP debt came out of the
  10        A. I mean, alleged, I mean, there's a lot         10 DACA accounts. That's my understanding.
  11   of alleged. I mean, but in terms of what I believe     11      Q.    Okay. Okay. So -- and have any of
  12   are unencumbered assets, I don't know, not much.       12 those accounts -- the non-DACA accounts been used at
  13        Q. Okay. What about Mr. -- is it                  13 all since the petition date?
  14   Mr. Bowlby's home? Isn't there a description of        14           MR. MORRIS: That's a question for
  15   other assets involving a home? Are you familiar        15      Mr. Avila.
  16   with that?                                             16 BY MR. GLENN:
  17        A. Yes.                                           17      Q.    Okay. Now, are you familiar with the
  18        Q. And does that constitute unencumbered          18 cash sweeps that occurred after the May 15th, 2023,
  19   assets or encumbered assets?                           19 transactions?
  20             MR. MORRIS: Objection to the form of         20      A.    I am.
  21        the question to the extent it calls for a         21      Q.    And did you interview Mr. Bowlby about
  22        legal conclusion.                                 22 those cash sweeps?


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   1        A. Yes.                                             1 I don't have any idea where they are.
   2        Q. Okay. And what did he tell you about             2     Q. And do you agree, putting aside
   3   his view about whether those cash sweeps were            3 whether those cash sweeps were proper or not, that
   4   appropriate or not?                                      4 they hurt the company's business and ability to
   5        A. He believes that they were not                   5 operate?
   6   appropriate.                                             6         MR. MORRIS: Objection to the form of
   7        Q. What did he tell you about that?                 7     the question.
   8        A. He believes that the cash sweeps left            8          THE WITNESS: No, I don't think that's
   9   the company in potential breach of certain               9     a proper way to -- a proper way to say it.
  10   requirements with the agencies and left the company     10 BY MR. GLENN:
  11   in an insolvent state, effectively.                     11     Q. Well, I'm asking you the question.
  12        Q. Did you investigate those allegations?          12          Do you believe, putting aside whether
  13        A. Yes.                                            13 they were legal or not, that the fact that RCP took
  14        Q. What did you do to investigate those            14 those cash sweeps hurt AFI's ability to operate?
  15   allegations?                                            15     A. Any time you take cash out of a
  16        A. I spoke to Mr. Bowlby. I spoke to the           16 company it's going to hurt a company's ability to
  17   Kasowitz team. I spoke to RCP. And then I looked        17 operate.
  18   and read the various provisions of the amended          18     Q. Fair enough.
  19   credit agreement.                                       19          Now, you talked to RCP about those
  20        Q. What did the Kasowitz firm tell you             20 cash sweeps; correct?
  21   about the proprietary of those cash sweeps?             21     A. Yes.
  22        A. I mean, I don't recall exactly what             22     Q. And what did they tell you about the


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   1 Kasowitz said about the cash sweeps, to be honest.         1   reasons and justification for taking those cash
   2    Q. Do you have any general recollection                 2   sweeps?
   3 about what they said about the cash sweeps?                3        A. There's provisions in the credit
   4     A. No, I think it was nothing different                4   agreement, first of all, regarding a paydown. So,
   5 than they put in their -- their various letters, you       5   for example, I think it's Section 2.07 regarding
   6 know, correspondence -- sorry, the correspondence on       6   prepayments of any -- of any -- of any sales of
   7 the -- on the -- I think it was the 22nd or 23rd of        7   assets that -- those proceeds have to be put into a
   8 August they specifically mentioned. You know, I            8   DACA account and have to be -- have to be paid to
   9 think their take was similar to Mr. Bowlby's take.         9   RCP within three business days.
  10     Q. Did you take notes of your interviews              10             And then the company was also entitled
  11 with Kasowitz or Mr. Bowlby?                              11   to monthly -- they were entitled to monthly cash
  12     A. I think I mentioned I took some minor              12   sweeps minus a reserve amount.
  13 notes, scratches on pieces of paper.                      13        Q. So when you refer to credit agreement,
  14     Q. Okay. And those were the ones that                 14   you're referring to the credit agreement from
  15 that ended up in the court-filed document that you        15   May 15th, 2023?
  16 discarded?                                                16        A. Yes.
  17      A. No, I said -- I said my findings from             17        Q. Okay. Now, did those cash sweeps
  18 the interviews are in the -- are in -- are in the         18   impair AFI's ability to comply with regulatory
  19 documents which describe our investigation.               19   requirements with the agencies?
  20     Q. Okay. But the notes -- you did                     20        A. I don't know the answer to the --
  21 discard the notes; right?                                 21             MR. MORRIS: Objection to the form of
  22     A. I don't know if I discarded them or --             22        the question.


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   1 BY MR. GLENN:                                               1      characterize it that way.
   2    Q. I'm sorry, the answer was you don't                   2 BY MR. GLENN:
   3 know the answer to that?                                    3      Q.    Okay. And you're aware that the
   4      A. I was never -- I don't know the answer              4 unsecured creditors committee and Mr. Bowlby do not
   5 to that.                                                    5 want RCP to get the release; correct?
   6        Q. Okay. And you did not examine whether             6      A.    Yeah, I'm aware they want to
   7   those cash sweeps might have violated a side letter?      7 investigate to see whether it's appropriate.
   8        A. I asked Mr. Bowlby directly to provide            8      Q.    What is the downside to the bankruptcy
   9   evidence that they did. You know, he did mention          9 estate if the court grants the creditors committee
  10   that, you know, very emphatically that it would put      10 standing to prosecute the claims it wants to
  11   them in breach of certain agreements, but I'm not        11 prosecute against RCP?
  12   sure there was any communication -- I think the way      12      A.    Time and money.
  13   he described it was they had to walk them off a          13      Q.    How much time, and how much money?
  14   ledge or -- you know, I'm putting a little bit of        14      A.    No idea. I mean, it -- but, you know,
  15   words in his mouth, but he basically had to              15 I imagine hundreds of thousands of dollars. And I
  16   sweet-talk them into not -- the agencies in to not       16 have no idea how much time. And the fact is we
  17   saying anything, but I don't think there was formal      17 investigated the claims.
  18   communication.                                           18      Q.    Okay.
  19            The formal communication between the            19      A.    You know --
  20   agencies that had dealt with the tangible net worth      20      Q.    So other than time and money, can you
  21   of the company occurred in 2022. After that point,       21 identify any downside or risk to the bankruptcy
  22   it was never clear to me or established whether or       22 estate by granting the UCC standing to prosecute the


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   1   not it did put them in violation of the -- of the         1   claims?
   2   agency requirements.                                      2        A. I think time and money are pretty
   3        Q. So you don't know as you sit here                 3   important.
   4   today?                                                    4        Q. Okay. Now, have you come to a view
   5        A. No, I'm not sure.                                 5   about the UCC's ultimate chance of success in
   6        Q. Now, are you aware of any creditor or             6   prevailing on the claims in its complaint if it is
   7   shareholder of AFI that supports giving releases to       7   allowed standing?
   8   RCP, other than RCP itself?                               8        A. Yes.
   9        A. I'm not aware or unaware.                         9        Q. Okay. And what is the -- UCC's chance
  10        Q. You don't know one way or the other?             10   of success?
  11             I'm sorry, I didn't hear that. You             11        A. I think it's very low.
  12   don't know one way or the other; correct?                12        Q. Can you quantify that?
  13        A. Right.                                           13        A. No.
  14        Q. Okay. And do you think it's important            14        Q. Is it less than 25 percent?
  15   as an independent director to take into account the      15        A. I would put it less than 25 percent,
  16   views of the relevant stakeholders?                      16   yes.
  17        A. I do.                                            17        Q. Is it less than 10 percent?
  18        Q. Okay. And at this point, you are                 18        A. Yes, I believe it is.
  19   adopting RCP's position on this release; correct?        19        Q. Less than 5 percent?
  20             MR. MORRIS: Objection to the form of           20        A. You know, we're splitting hairs. I
  21        the question.                                       21   don't think there's colorful claims.
  22             THE WITNESS: Yeah, I don't -- I don't          22        Q. Okay. So we'll call it less than


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   1 10 percent.                                                      1    an insider?
   2         So is the basis of that view driven by                   2         A. I mean, an insider or a nonstatutory
   3 the Pachulski's firm legal analysis, your factual                3    insider?
   4 analysis, or both?                                               4         Q. Well, let's start with insider,
   5      A. Well, I want to be very clear. It's                      5    generically.
   6 my investigation. Okay. You know, again, I have                  6         A. Yeah, I mean, someone who --
   7 a -- I have 20 years of experience invested in                   7    effectively, someone who has control -- voting
   8 dealing with lawyers. Okay. So I take their                      8    rights or control or, you know, a position of power
   9 advice, but it's my investigation. It's my                       9    within the company.
  10 conclusions. So just to be clear.                               10         Q. Okay. And what is a nonstatutory
  11     Q. Okay. Now, let's talk about the                          11    insider?
  12 release that was granted in conjunction with the                12         A. I believe the definition is someone
  13 May 15th, 2023, transactions.                                   13    who, you know, for all intents and purposes has the
  14           If the court determines that that                     14    same closeness to the company as the insider. I
  15 release and those transactions in May of 2023 would             15    think there's a second prong which means that any
  16 be rescinded, to what extent would that change your             16    transactions that are being referred to were not
  17 view about the committee's chances of success in                17    done at arm's length. I think it has to be both.
  18 that litigation?                                                18         Q. Who did the investigation, if anyone,
  19           MR. MORRIS: Objection to the form of                  19    about whether RCP is an insider?
  20      the question.                                              20         A. Well, look, I mean, you -- you know,
  21           THE WITNESS: Very little.                             21    we -- the investigation that we did didn't just come
  22                                                                 22    out of nowhere. There were certain allegations that


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   1 BY MR. GLENN:                                                     1 were presented by Mr. Bowlby, by the Kazowitz team,
   2      Q.    Very little. Okay. Thank you.                          2 by the correspondence. And that was a roadmap, you
   3           What is an insider?                                     3 know, that I used -- that I used specifically to
   4           MR. MORRIS: Objection to the form of                    4 determine what we were going to investigate.
   5      the question.                                                5             So I investigated their allegations.
   6           THE WITNESS: An insider are                             6   You know, did we take into consideration -- did I
   7      directors, officers -- I think it's                          7   take into consideration that there could be some
   8      determined by the SEC. I can't remember                      8   insider preference, fraudulent conveyance issues?
   9      which rule. But, basically, directors and                    9   Yes, because that's always the case in these types
 10       officers, board members of a company.                      10    of situations.
 11 BY MR. GLENN:                                                    11              So, you know, I did -- I did look at
 12       Q.    Okay. You think it's an SEC rule that                12    that. But, you know, I determined that that wasn't
 13 determines whether someone's an insider or not?                  13    really an issue; and it also wasn't -- it wasn't a
 14       A.    I think there's a definition, but --                 14    specific allegation at the time. It only became an
 15            MR. MORRIS: Objection to the form of                  15    allegation once the investigation was completed and
 16       the question, mischaracterizes the testimony.              16    the committee put out new filings.
 17            THE WITNESS: But for all intents and                  17    Q. Okay. So I just want to be very clear
 18       purposes, it's the officers and directors and              18 about this. Since the committee's filings, have you
 19       board of directors, et cetera.                             19 done any factual or legal investigation over whether
 20 BY MR. GLENN:                                                    20 RCP was ever an insider?
 21       Q.    Okay. Other than officers, directors,                21       MR. MORRIS: Objection to the form of
 22 do you have any understanding of what it means to be             22        the question.


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   1             THE WITNESS: Not -- not anything               1       A. I believe it's -- I believe that it's
   2        different -- no, not anything different than        2   unlikely to succeed at the end of the day.
   3        I did before. Because, again, I took it into        3       Q. Okay. Now, if there's no cost to the
   4        consideration at the time.                          4   bankruptcy estate in terms of an outlay of cash to
   5   BY MR. GLENN:                                            5   prosecute those claims, would your opinion change
   6       Q. Okay. So to what extent would your                6   about whether the claims should proceed?
   7   conclusions that you reached in your investigation       7            MR. MORRIS: Objection --
   8   change if the court determined that RCP was an           8            THE WITNESS: No.
   9   insider since at least the time that it issued the       9            MR. MORRIS: -- to the form of the
  10   notice of default in December of 2022?                  10       question.
  11             MR. MORRIS: Objection to the form of          11   BY MR. GLENN:
  12        the question.                                      12       Q. Okay. And just so I'm correct, if the
  13             THE WITNESS: Then you'd have to               13   committee gets contingency counsel and litigation
  14        examine certain preference issues, for             14   financing such that none of the cash currently in
  15        example, but even then, I don't think it           15   the bankruptcy estate goes to those claims, would
  16        would be a very strong issue.                      16   that change your assessment about whether the
  17   BY MR. GLENN:                                           17   committee should have standing?
  18       Q. What do you mean it wouldn't be a very           18       A. No.
  19   strong issue?                                           19       Q. Why not?
  20        A. Because -- because the amounts of               20       A. Because the committee only should have
  21   money that were sent to RCP were money that they        21   standing if the estate is not willing to bring
  22   were entitled to under the -- under the amended and     22   claims and causes of action. And I was perfectly


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   1 restated credit agreement. So, you know, they              1   willing to bring any claims for causes of action
   2 weren't receiving any more money than they would           2   that I believe were appropriate.
   3 have been entitled. They're a secured lender. So           3             I did an investigation. I determined
   4 there was nothing they received that they wouldn't         4   that those allegations and claims were not -- were
   5 have been entitled to in a Chapter 7 liquidation.          5   not appropriate. So there's no reason for -- for
   6      Q.    Okay. Assuming that their collateral            6   further investigation.
   7 was, in fact, secure?                                      7        Q. Okay. So your assessment about
   8      A.    But it is secure.                               8   whether the claims shouldn't be brought doesn't
   9      Q.    Okay. And it was secured under the              9   relate to, you know, the fact that the claims could
 10 May 15, 2023, transaction?                                 10   be financed outside of the current bankruptcy
 11       A.    Correct.                                       11   estate. It's solely with respect to the merits of
 12       Q.    What is a colorable claim?                     12   the claims themselves?
 13       A.    A claim that has, you know, a decent           13             MR. MORRIS: Objection to the form of
 14 chance of success at the end of the day, or at least       14        the question.
 15 it has a chance of withstanding, you know, like a          15             THE WITNESS: You're asking two
 16 summary judgment or -- you know, I'm not a legal --        16        different things. Do I believe that they
 17 I'm not a lawyer, but, you know, that's my                 17        should be provided standing? That's up for
 18 understanding.                                             18        the judge. But my personal opinion is no,
 19       Q.    Okay. So your position is that the             19        because these claims were investigated. The
 20 complaint -- the proposed complaint that the               20        estate was willing to bring them. We chose
 21 committee filed would not pass a Motion for Summary        21        not to because we did an investigation, we
 22 Judgment and go to trial; correct?                         22        found them not to have merit.


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   1   BY MR. GLENN:                                             1 viable claims, it was all subject to change. And I
   2        Q. I'm confused. I'm confused about                  2 a hundred percent would have changed it.
   3   that.                                                     3     Q. Okay. So even though the debtor had
   4             You were willing to bring the claims?           4 waived the right to bring the claims and granted
   5        A. Absolutely. We were willing to --                 5 only the committee the right to get standing in the
   6        Q. Explain to me how --                              6 interim DIP order, your testimony is if you had
   7        A. Not willing -- we were willing to -- I            7 concluded that the claims were viable, you would
   8   was willing to not provide releases, and I was            8 have rescinded that waiver?
   9   willing to pursue claims if there's something             9    A. I would not have -- yes, I would have
  10   that -- you know, if this is something that's going      10 not been able to go to the judge and say that we
  11   to benefit the estate, then that's -- of course,         11 should include a waiver with the final DIP.
  12   but, you know, it has to be something that's viable.     12     Q. Okay. But you would -- you would
  13             So I did the investigation to                  13 admit to me, sir, that you waived permanently -- the
  14   determine whether it was viable. I determined it         14 debtor waived permanently the right to bring those
  15   wasn't. And if it was viable, then -- you know,          15 claims in the first interim DIP order?
  16   then we would discuss -- I would -- you know, we         16     A. I'm just saying -- what I'm saying is
  17   would discuss, you know, who would get to -- you         17 that as part of the final DIP hearing, I would not
  18   know, to bring those claims.                             18 have recommended that we put -- that we give a
  19             You know, that -- but in order to get          19 waiver as part of the final DIP.
  20   standing, you know, my understanding -- again, I'm       20     Q. You gave a release in the final DIP,
  21   not a lawyer -- is that you're going to have to show     21 not a waiver.
  22   that -- you know, that I was not willing to bring a      22     A. That's what I meant. I'm sorry. Yes,


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   1   claim that -- you know, that is viable. I don't see       1 a release.
   2   that.                                                     2      Q. Okay.
   3         Q. Okay. But by the time your                       3     A. That's what I meant. I'm sorry I used
   4   investigation even started, you had completely            4 the wrong word.
   5   waived the right to bring a claim as debtor;              5     Q. Okay. But you never -- but once you
   6   correct?                                                  6 waived the right to bring the claim, you, Mr. Dane,
   7             MR. MORRIS: Objection, asked and                7 and AFI could never bring that claim ever, only the
   8         answered.                                           8 committee could; correct?
   9   BY MR. GLENN:                                             9      A. Yes, but we can -- I'm sorry, I was
  10         Q. Correct?                                        10 getting confused with the language. I'm talking
  11         A. No. No, we -- if I had found any --             11 about a release.
  12   if I had found any evidence of wrongdoing, I would       12     Q. Okay.
  13   not have -- I would not have allowed the waiver to       13        A. Not the waiver. I -- not to be -- not
  14   be included in the DIP -- or in the DIP order.           14   to be confused. I would not -- we put that in as a
  15         Q. You're sure about that, sir?                    15   placeholder, the release. And if any -- if any --
  16         A. Yes, I'm sure. We put that in as a              16   if there had been any evidence that -- you know of
  17   placeholder. If the investigation had -- you know,       17   wrongdoing, I would not have recommended the
  18   there was -- there was notification time periods and     18   release.
  19   reasons that we had to -- we had to put filings. So      19      Q. And, again, you only decided to do
  20   we did include that.                                     20 this investigation after RCP told you that it wanted
  21             However, once the investigation was            21 a release in the final DIP order; correct?
  22   completed, if there had been any evidence of any         22      A. No, that's not correct.


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   1        Q. Okay. So when did you decide to do                  1            As an investor, I've been involved in
   2   the investigation if not after they asked you for           2 fraudulent conveyance.
   3   the release to be included in the final DIP order?          3            As a board member, you know, I have
   4        A. That determined the timing at that                  4 been involved in investigations of fraudulent
   5   time, but we had to do it because we were requesting        5 conveyance issues.
   6   the challenge period be waived. But it was -- you           6       Q.     Okay. So how many investigations have
   7   know, it was always contemplated that at some point         7 you been involved with fraudulent conveyance claims
   8   prior to -- if there were going to be a release --          8 as a board member?
   9   if there was going to be a release offered, we would        9       A.     Actual investigations, one. It's an
  10   have to do an investigation.                               10 issue that comes up in almost every bankruptcy case,
  11        Q. Have you done any additional                       11 as you know. But in terms of an actual --
  12   investigation of the claims in the committee's             12       Q.     Which case --
  13   complaint?                                                 13       A.     -- investigation, we did look at --
  14        A. You're -- if you'd like to bring up                14 BJ Services.
  15   the -- you know, your complaints one by one, we can        15       Q.     Okay. And what was the investigation
  16   discuss it. You know, you -- the way it was laid           16 in BJ Services, and what was your role?
  17   out in those papers was a little differently than          17       A.     I was one of two independent board
  18   the way I looked at it.                                    18 members. We looked at a series of potential causes
  19             However, I think my investigation did            19 of action. One of which was fraudulent conveyance,
  20   incorporate all -- you know, what I considered -- or       20 preference, tortious interference, lender liability,
  21   at least most of those claims. You know, there was         21 et cetera.
  22   a couple that I don't think were necessarily               22       Q.     And what was the conclusion of that


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   1 appropriate, but the -- if you'd like to pull them            1 investigation?
   2 up and discuss them, I'm more than willing to do              2       A.     In terms of the fraudulent conveyance,
   3 that.                                                         3 we did not find it a colorable claim. We did find
   4      Q.     I'm really talking more about the                 4 that there was a potential preference issue
   5 process.                                                      5 regarding one of the -- one of the revolving credit
   6            So after the committee filed its                   6 facility lenders.
   7 standing motion, what investigation activities did            7       Q.     And then as an investor, how many
   8 you undertake, if any?                                        8 fraudulent conveyance matters were you involved in?
   9      A.     The investigation was completed.                  9       A.     Multiple. You know, we looked at it
 10       Q.     So you haven't done any additional               10 all -- we looked at it all the time in one way or
 11 investigation activities since the committee filed            11 another. Again, like any time there's a bankruptcy,
 12 its standing motion and proposed complaint; correct?          12 the issue always comes up.
 13       A.     In my -- in my opinion, there was                13       Q.     Were you ever a plaintiff in any
 14 nothing new in the motions -- in the motion.                  14 fraudulent conveyance case?
 15       Q.     Okay. So the answer's no?                        15       A.     A plaintiff -- I mean, myself
 16       A.     No.                                              16 personally, no.
 17       Q.     Okay. Have you ever been involved in             17       Q.     Okay. Did you ever invest in any
 18 a fraudulent conveyance litigation?                           18 company that was a plaintiff in a fraudulent
 19       A.     Yes.                                             19 conveyance case?
 20       Q.     In what context?                                 20       A.     We invest- -- I invested in, yes,
 21       A.     Litigation? Where we've investigated             21 several situations that there were fraudulent
 22 fraudulent conveyance issues.                                 22 conveyance allegations.


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   1       Q.    Okay. And have you ever been involved              1   as an investment or as a plaintiff or otherwise?
   2 with a defense of a fraudulent conveyance claim as             2        A. Say it again.
   3 an investor?                                                   3        Q. How many times, you know, as an
   4       A.    No --                                              4   investor --
   5       Q.    Okay.                                              5        A. Preference?
   6       A.    -- not that I --                                   6        Q. -- did you invest in a company -- yes.
   7       (Cross talk.)                                            7        A. You know, preference, I'm trying to
   8 BY MR. GLENN:                                                  8   think of specific examples. You know, fraudulent
   9    Q. So while you were an investor, you                       9   conveyance, I can. Preference, I'm not sure, but,
  10 only invested in those claims. You never were                 10   you know, it happened from time to time.
  11 involved in the defense of those claims?                      11        Q. What about fraud claims and lender
  12       A.    Not that I remember.                              12   liability claims, have you ever investigated those
  13      Q. Okay. And have you ever provided                      13   before this case?
  14 litigation financing for a fraudulent conveyance              14        A. The same investigation that I did with
  15 claim?                                                        15   BJ Services did have elements.
  16       A.    No.                                               16        Q. Of fraud and lender liability?
  17       Q.    Okay. And how many companies have you             17        A. I did a second investigation for a
  18 invested in for purposes of profiting off of                  18   separate company called Vantage, which did have
  19 fraudulent conveyance claims?                                 19   breach of fiduciary duty characteristics.
  20       A.    Several.                                          20        Q. Okay. And what was the outcome of
  21       Q.    More than five?                                   21   that investigation?
  22       A.    I don't -- I don't know the exact                 22        A. We determined that the claims were not

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   1 number.                                                        1 colorable.
   2      Q.    Okay. And how many of those cases                   2     Q. And what about as an investor, have
   3 were successful?                                               3 you ever invested in a company that's prosecuting a
   4      A.    Well, it's not a question of success                4 fraud claim or a lender liability claim?
   5 or not success. They last for a long time. You                 5      A. I can't remember off the top of my
   6 know, you're buying -- you're buying securities with           6 head.
   7 the hope that they go up in price, and that is                 7      Q. Is it your testimony that the
   8 determined by rulings or, you know, by people's                8 experience that you have articulated qualifies you
   9 perception of the strength of the claims.                      9 to opine on the colorability of the claims before
 10       Q.    Okay. But can you recall any                       10 the court?
 11 circumstances where there was recovery on fraudulent           11      A. Yes --
 12 conveyance claims when you invested?                           12           MR. MORRIS: Objection to the form of
 13       A.    Again, it depends what you mean by                 13      the question.
 14 "recovery." I mean, they were usually settled --               14           THE WITNESS: Yes, I do believe -- I
 15 these things were usually settled, or we were in and           15      do believe I am.
 16 out before the ultimate outcome was determined.                16 BY MR. GLENN:
 17       Q.    Okay. How many investigations of                   17      Q. And do you --
 18 preference claims have you been involved with, other           18      A. I'm not claiming to be a lawyer and
 19 than the one you just identified?                              19 I'm not claiming to be an expert on the subject, but
 20       A.    Well, formal investigations, the one.              20 I clearly have an understanding on what the issues
 21       Q.    Okay. And how many times as an                     21 are. I can read credit agreements. I understand,
 22 investor did you get involved in preference claims             22 you know, the laws. I've been involved in -- I've


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   1   been involved in situations, et cetera. So yes.             1   obligations under the agreement.
   2        Q. And other than those matters, do you                2        Q. Okay. And what did Mr. Bowlby say?
   3   have any other relevant expertise you can testify to        3        A. Again, I don't want to put words in
   4   today that qualifies you to deliver an opinion on           4   his mouth, but I think his overall opinion was that
   5   the colorability of the claims before the court?            5   at the time of the agreement, he felt -- you know,
   6        A. I think I just answered. I think --                 6   he felt that it had been a tough negotiation and he
   7   you know, I've been dealing with these issues as an         7   wasn't a hundred percent happy, but he didn't have
   8   investor for 20 years. I've sat on, as I told you           8   reason to believe at that point that there were --
   9   before, I think at least five boards where there            9   that RCP had, you know, intentionally defrauded him
  10   were bankruptcies and, therefore, you know, at least       10   in any way.
  11   issues of fraudulent conveyance and preference, and        11        Q. Okay. And did you ask Mr. Bowlby
  12   I've actually investigated them. So yes.                   12   about whether he believes RCP overreached in its
  13        Q. Have you ever been sued for fraud or               13   dealings with AFI and the warehouse lenders?
  14   any other intentional misconduct?                          14             MR. MORRIS: I'm sorry, hold on one
  15        A. No.                                                15        second. I apologize, Andrew. I was
  16        Q. Do you have any criminal record?                   16        distracted by taking a note.
  17        A. Just a caveat, the only -- I was --                17             Can I just have that question read
  18   Apex Park, I was a Chapter 7. So we were brought --        18        back?
  19   you know, all the board of directors were mentioned        19             MR. GLENN: Yeah, I'll rephrase it.
  20   in a claim, but it was dismissed.                          20   BY MR. GLENN:
  21        Q. Okay. And no criminal record; right?               21        Q. Did Mr. Bowlby ever tell you that he
  22        A. No.                                                22   thought RCP did not comply with the terms of the


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   1      Q.      Okay. Would you investigate any                  1 May 15th, 2023, transaction documents in relation to
   2 claims of any fraudulent misrepresentations made by           2 securing a new warehouse line and cash sweeps?
   3 RCP in connection with any of the transactions where          3     A. Yeah, that Mr. Bowlby believed that it
   4 we've alleged that that occurred in our complaint?            4 was outside the intention -- that the -- both of
   5           MR. MORRIS: Objection to the form of                5 those issues were not handled correctly by RCP.
   6      the question.                                            6     Q. And what was your conclusion on those
   7           THE WITNESS: As part of the -- as                   7 allegations?
   8      part of the investigations, we interviewed               8     A. I found that to not be the case.
   9      RCP, as I explained. We interviewed                      9      Q.    And why is that?
 10       Mr. Bowlby. And we interviewed Kasowitz                 10      A.    Because I didn't see any evidence
 11       team.                                                   11 that -- that any of those issues were outside the
 12            We did ask them specifically about the             12 corners of the agreement. There was no evidence
 13       intent -- what they believed was the intent             13 provided that the -- that the cash sweeps were
 14       at the time of the agreement, and we got                14 anything other than what was allowed under the
 15       answers from each one of those in terms of              15 amended agreement, and the same with all those other
 16       intent at the time of the agreement.                    16 allegations.
 17 BY MR. GLENN:                                                 17     Q. Okay. So your position is that RCP
 18       Q.      Okay. What do you mean by "intent"?             18 was entitled to do what it did because the credit
 19 Whose intent?                                                 19 agreement allowed it --
 20       A.      Meaning was there any -- at the time            20      A.    Yes.
 21 the agreement was signed, was there any reason to             21      Q. -- several points in time after the
 22 believe that RCP did not intend to fulfill its                22 May transactions?


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   1           Okay. All right.                              1 document collection process for the requests that
   2           Was Mr. Avila and the Pachulski firm          2 were made by the creditors committee?
   3 involved with the Apex Parks case?                      3      A.    What do you mean "involved"?
   4     A. They were.                                       4      Q.    Well, did you help collect any
   5     Q. Okay. And were they involved with the            5 documents in response to the creditors committee's
   6 investigation in that case?                             6 document requests?
   7     A. We hired -- we hired outside counsel.            7      A.    I got e-mails.
   8     Q. Okay. And who was that?                          8      Q.    Okay. And you were made aware of
   9     A. I think it was Gray Reed.                        9 those document requests?
  10     Q. I just want to ask you again for the            10      A.    I know there were documents requests.
  11 $250,000. As you sit here today, do you know who       11      Q.    Okay. And are you aware of any
  12 picked that number, the COK [ph] in the plan, who      12 documents that have been requested responsive to our
  13 picked that number?                                    13 document requests that have not been produced?
  14     A. Again, it's -- it's Mr. Avila who's             14      A.    Not that I'm aware.
  15 negotiating those issues.                              15      Q.    Okay. Did you ask the Pachulski
  16           MR. GLENN: Let's go off the record.          16 firms' views about any aspect of your investigation?
  17     I'd like to talk to my colleagues and see          17           MR. MORRIS: Objection.
  18     what I need to do to finish up.                    18           Just a yes-or-no answer.
  19           So let's take 15 minutes, but I don't        19           And object to the form of the
  20     have all that much more.                           20      question.
  21           MR. MORRIS: So 1:45, Andrew?                 21           THE WITNESS: Well, it was my
  22           MR. GLENN: 1:45, please. 1:45.               22      investigation.


                                             Page 162                                                      Page 164
   1           And, Malik, can you send a Zoom to our        1   BY MR. GLENN:
   2      team so we can get on a separate Zoom and          2       Q. Okay. But -- and, again, this is a
   3      we'll talk in that context and we'll get back      3   yes-or-no question in deference to Mr. Morris for
   4      on at 1:45.                                        4   the moment.
   5           THE VIDEOGRAPHER: Okay. Going off             5            Did you ask the Pachulski firm and its
   6      the record. The time is 1:33.                      6   lawyers their opinions on any aspects of your
   7           (Recess from the record.)                     7   investigation?
   8           THE VIDEOGRAPHER: Okay. We are back           8       A. On any aspects, yes.
   9      on the record. The time is 2 p.m.                  9       Q. Okay. What aspects?
  10   BY MR. GLENN:                                        10            MR. MORRIS: Objection. Direct him
  11    Q. How did you prepare for today's                  11       not to answer.
  12 deposition, sir?                                       12            MR. GLENN: Well, can he give me the
  13    A. What's that?                                     13       general topics, I mean, without divulging the
  14    Q. How did you prepare for today's                  14       advice that was given?
  15 deposition?                                            15            I'll represent to you, Mr. Morris,
  16      A. I just had conversations with counsel,         16       that's not a waiver. And I won't contend
  17 just basic deposition prep.                            17       that it's a waiver, if that reassures you in
  18    Q. I don't want to talk about your                  18       any way.
  19 communications with counsel. You're referring to       19            MR. MORRIS: Okay. And if you want to
  20 Mr. Morris?                                            20       know kind of broad topics, I'll allow it.
  21      A.   Yes.                                         21   BY MR. GLENN:
  22      Q.    Okay. Were you involved in the              22       Q. Just broad topics. Just broad topics.


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   1   Don't give me any legal advice, sir. I'm not asking      1         A. Yes, we considered it.
   2   for that.                                                2         Q. And why didn't you do it?
   3        A. Certain legal definitions --                     3         A. I didn't feel it was necessary. As we
   4        Q. Okay.                                            4   started the investigation, if we had determined that
   5        A. -- I think would be the most --                  5   that were issues that were going to be more
   6        Q. Legal definitions -- okay. Legal                 6   complicated than we suspected or would have needed
   7   definitions, like insider, that kind of a thing?         7   it, then we would have considered it.
   8        A. No. I mean, I may have told them my              8              But, quite frankly, we didn't -- I
   9   understanding of those terms.                            9   didn't feel like it was a good -- I didn't feel like
  10        Q. Okay. Again, I don't want to get into           10   it was a good use of resources, nor did I see any
  11   specifics for the moment.                               11   conflicts with using Pachulski for -- you know, for
  12             So are you relying on any legal advice        12   purposes of this investigation.
  13   that the Pachulski firm gave you as part of your        13              So combination of no conflicts, trying
  14   investigation or the testimony you're going to give     14   to save the estate some money, and the fact that the
  15   on Monday?                                              15   issues involved were not overly complex, there was
  16        A. Well, just like any -- any law firm I           16   no need for --
  17   use, obviously, they're there to help -- help me in     17              MR. MORRIS: Even I could understand
  18   terms of things I don't understand or things, you       18         them.
  19   know, I need help with or to get certain legal          19              MR. GLENN: Yeah, I was going to
  20   advice.                                                 20         say -- I was going to say, you know, I think
  21             At the end of the day, the conclusions        21         the Pachulski firm would tell you that they
  22   were my own conclusions. I led the investigation.       22         can also handle complex matters, but that's


                                                 Page 166                                                    Page 168
   1 I did the interviews. I determined the questions           1    something different.
   2 and came up with the conclusions myself.                   2 BY MR. GLENN:
   3     Q. To what extent did any legal advice                 3    Q. Okay. So are you aware -- who hired
   4 provided by the Pachulski firm affect your opinions        4 the Pachulski firm, to begin with?
   5 about the investigation?                                   5         MR. MORRIS: Objection to the form of
   6      A.    Not much.                                       6      the question.
   7      Q.    And when you say "not much," what do            7           You can answer, if you know.
   8 you mean?                                                  8           THE WITNESS: Yeah, I'm not sure how
   9        MR. MORRIS: Without disclosing any                  9      that -- I'm not really sure. I wasn't -- I
 10       attorney-client communications, if you can           10      don't know.
 11       answer that question, go ahead.                      11   BY MR. GLENN:
 12            THE WITNESS: Not much. I think the              12     Q. Okay. You don't know whether RCP
 13       issues were for the most part issues I was           13 recommended Pachulski?
 14       familiar with, and the investigation I was           14     A. I don't know. I have no idea their
 15    able to do mainly on my own.                            15 relationship. So I don't know about recommended.
 16 BY MR. GLENN:                                              16      Q. And you had -- in your prior answer
 17    Q. You had mentioned that in the prior                  17 when I asked you about hiring independent counsel,
 18 matter you hired independent counsel as part of your       18 you said the word "we."
 19 investigation and you did not use the Pachulski            19           Who did you mean by "we"?
 20 firm.                                                      20      A. Oh, sometimes I'll say "we." I mean,
 21         Did you consider using independent                 21 in terms of the investigation, to be clear, I mean
 22 counsel in this case?                                      22 I. If I say "we," it's just because it's the


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   1   comp- -- I meant the company, but I'm leading the      1   STATE OF NEW YORK     )
                                                              2                ss:
   2   investigation.                                         3   COUNTY OF WESTCHESTER                   )
   3            So any time I've used the word "we," I        4
                                                              5          I, EILEEN MULVENNA, CSR/RMR/CRR, a
   4   meant myself as a representative of the -- as the      6   Certified Court Reporter, Registered Merit Reporter,
   5   independent board member of AmeriFirst.                7   Certified Realtime Reporter, and Notary Public in
                                                                  and for the State of New York, do hereby certify:
   6       Q. Okay. Are you prepared --                       8
   7            (Cross talk.)                                 9          That I reported the taking of the
                                                                  deposition of the witness, JEFFREY DANE,
   8   BY MR. GLENN:                                         10   commencing on the 15th day of December, 2023, at the
   9       Q. Okay. Are you prepared to come to                   hour of 10:06 a.m.
                                                             11          That prior to being examined, the witness
  10   court on Monday?                                           was duly sworn by me to testify to the truth, the
  11       A. I hope so.                                     12   whole truth, and nothing but the truth.
                                                                         That I thereafter transcribed my said
  12       Q. Okay. And have we -- are there any             13   shorthand notes into typewriting and that the
  13   matters on which you expect to testify that we             typewritten transcript of said deposition is a
                                                             14   complete, true and accurate transcription of my
  14   haven't discussed so far today?                            said shorthand notes taken down at said time, and
  15            MR. MORRIS: Objection to the form of         15   that a request has been made to review the
                                                                  transcript.
  16       the question.                                     16          I further certify that I am not a relative
  17            THE WITNESS: I don't -- I mean, I                 or employee of an attorney or counsel of any of the
                                                             17   parties, nor a relative or employee of any attorney
  18       don't know. I think it's -- you know, I                or counsel involved in said action, nor a person
  19       think that -- the main focus of the testimony     18   financially interested in the action.
                                                                         IN WITNESS WHEREOF, I have hereunto
  20       will revolve around the investigation.            19   set my signature this 17th day of December, 2023.
  21            MR. GLENN: Okay. That concludes my           20
                                                             21       _____________________________________
  22       questioning for today.                            22         EILEEN MULVENNA, CSR/RMR/CRR


                                            Page 170                                                                Page 172
   1           THE WITNESS: Thank you.                        1     Jeffrey Dane, c/o
   2           MR. MORRIS: Thank you, Andrew.                       PACHULSKI STANG ZIEHL & JONES LLP
                                                              2     780 Third Avenue, 34th Floor
   3           Anybody else?
                                                                    New York, New York 10017
   4           Linda?                                         3
   5           MS. RICHENDERFER: No. I have no                      Case: In Re AmeriFirst Financial, Inc. et al.
   6      questions. Thank you.                               4     Date of deposition: December 15, 2023
                                                                    Deponent: Jeffrey Dane
   7           MR. MORRIS: Okay. Are we free to
                                                              5
   8      sign off then?                                      6     Please be advised that the transcript in the above
   9           MR. GLENN: Thank you, Mr. Dane.                      referenced matter is now complete and ready for signature.
  10           Yes, sir. Thank you.                           7     The deponent may come to this office to sign the transcript,
  11           THE VIDEOGRAPHER: We are going off             8     a copy may be purchased for the witness to review and sign,
                                                              9     or the deponent and/or counsel may waive the option of
  12      the record. The time is 2:08.                      10     signing. Please advise us of the option selected.
  13                                                         11     Please forward the errata sheet and the original signed
  14                                                         12     signature page to counsel noticing the deposition, noting the
  15                                                         13     applicable time period allowed for such by the governing
                                                             14     Rules of Procedure. If you have any questions, please do
  16
                                                             15     not hesitate to call our office at (202)-232-0646.
  17                                                         16
  18                                                         17
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   3
   4   SIGNATURE PAGE
       Case: In Re AmeriFirst Financial, Inc. et al.
   5   Witness Name: Jeffrey Dane
       Deposition Date: December 15, 2023
   6
       I do hereby acknowledge that I have read
   7   and examined the foregoing pages
       of the transcript of my deposition and that:
   8
   9   (Check appropriate box):
       ( ) The same is a true, correct and
 10    complete transcription of the answers given by
       me to the questions therein recorded.
 11    ( ) Except for the changes noted in the
       attached Errata Sheet, the same is a true,
 12    correct and complete transcription of the
 13    answers given by me to the questions therein
 14    recorded.
 15
 16    _____________          _________________________
 17     DATE                 WITNESS SIGNATURE
 18
 19
 20
 21    _____________           __________________________
 22     DATE                   NOTARY

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  9    Witness Name: Jeffrey Dane
 10    Deposition Date: December 15, 2023
 11    Page No. Line No.        Change
 12
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 21      ___________________________             _____________
 22      Signature                   Date


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